       Case: 24-11042   Document: 42    Page: 1   Date Filed: 02/10/2025



                               No. 24-11042

             In the United States Court of Appeals
                     for the Fifth Circuit
                         GEORGE ANIBOWEI,
                                    Plaintiff-Appellant.
                                 v.
  PAMELA BONDI, U.S. ATTORNEY GENERAL; UNITED STATES DEPARTMENT
     OF HOMELAND SECURITY; UNITED STATES CUSTOMS AND BORDER
 PROTECTION; UNITED STATES IMMIGRATION AND CUSTOMS ENFORCEMENT;
  KRISTI NOEM, SECRETARY, U.S. DEPARTMENT OF HOMELAND SECURITY;
    TROY MILLER, SENIOR OFFICIAL PERFORMING THE DUTIES OF THE
   COMMISSIONER, U.S. CUSTOMS AND BORDER PROTECTION; PATRICK J.
 LECHLEITNER, DEPUTY DIRECTOR AND SENIOR OFFICIAL PERFORMING THE
                  DUTIES OF THE DIRECTOR FOR ICE,
                                    Defendants-Appellees.

               On Appeal from the United States District Court
              for the Northern District of Texas, Dallas Division

                         RECORD EXCERPTS


KASSANDRA GONZALEZ                       ANDREW T. TUTT
TEXAS CIVIL RIGHTS PROJECT               ORION DE NEVERS
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Austin, TX 78760                         SPENCER JOHN FABER
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                                         Washington, DC 20001
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             Counsel for Plaintiff-Appellant George Anibowei
                 (additional counsel listed on inside cover)
        Case: 24-11042   Document: 42   Page: 2   Date Filed: 02/10/2025




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Counsel for Plaintiff-Appellant George Anibowei
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2     Notice of Appeal..……..……………………………………….ROA.1147

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4     Memorandum Opinion and Order…………………...……….ROA.1128

5     Verified Second Amended Complaint.……………………...…ROA.545
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            TAB 1
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                                                                           APPEAL,CLOSED,RAMIREZ
                                  U.S. District Court
                           Northern District of Texas (Dallas)
                     CIVIL DOCKET FOR CASE #: 3:16-cv-03495-D

Anibowei v. Lynch et al                                      Date Filed: 12/23/2016
Assigned to: Judge Sidney A Fitzwater                        Date Terminated: 11/22/2024
Case in other court: USCA5, 20-10059                         Jury Demand: None
                     USCA5, 24-11042                         Nature of Suit: 440 Civil Rights: Other Civil
                                                             Rights
Cause: 28:2201 Declaratory Judgment
                                                             Jurisdiction: U.S. Government Defendant
Plaintiff
George Anibowei                               represented by George Anibowei
                                                             Law Office of George Anibowei PC
                                                             6060 North Central Expwy, Suite 560
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                                                             LEAD ATTORNEY
                                                             ATTORNEY TO BE NOTICED
                                                             Bar Status: Admitted/In Good Standing

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                                                                                               24-11042.1
Case: 24-11042   Document: 42   Page: 6      Date Filed: 02/10/2025

                                          Email: Emily.Chertoff@arnoldporter.com
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                                          Email: jayce.born@usdoj.gov
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                                          PRO HAC VICE
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                                                                           24-11042.2
Case: 24-11042   Document: 42   Page: 7      Date Filed: 02/10/2025

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                                          Bar Status: Not Admitted

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                                          ATTORNEY TO BE NOTICED


                                                                          24-11042.3
               Case: 24-11042           Document: 42   Page: 8      Date Filed: 02/10/2025

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                                                                 ATTORNEY TO BE NOTICED
                                                                 Bar Status: Admitted/In Good Standing


V.
Defendant
Loretta E Lynch                                   represented by Sarah Elizabeth Delaney-DOJ
Attorney General of the United States                            US Attorney's Office
TERMINATED: 04/11/2017                                           1100 Commerce Street
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                                                                 214-659-8730
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                                                                 LEAD ATTORNEY
                                                                 ATTORNEY TO BE NOTICED
                                                                 Bar Status: Admitted/In Good Standing

                                                                 Brian Walters Stoltz-DOJ
                                                                 DOJ-USAO
                                                                 1100 Commerce St
                                                                 Third Floor
                                                                 Dallas, TX 75242-1699
                                                                 214-659-8626
                                                                 Email: brian.stoltz@usdoj.gov
                                                                 TERMINATED: 08/29/2018
                                                                 Bar Status: Admitted/In Good Standing

Defendant
James B Comey                                     represented by Sarah Elizabeth Delaney-DOJ
Director of the Federal Bureau of                                (See above for address)
Investigation                                                    LEAD ATTORNEY
TERMINATED: 03/15/2019                                           ATTORNEY TO BE NOTICED
                                                                 Bar Status: Admitted/In Good Standing

                                                                 Brian Walters Stoltz-DOJ
                                                                 (See above for address)
                                                                 TERMINATED: 08/29/2018
                                                                 Bar Status: Admitted/In Good Standing

Defendant
Christopher M Piehota                             represented by Sarah Elizabeth Delaney-DOJ
Director of the Terrorist Screening Center                       (See above for address)

                                                                                                   24-11042.4
              Case: 24-11042            Document: 42   Page: 9      Date Filed: 02/10/2025

TERMINATED: 03/15/2019                                           LEAD ATTORNEY
                                                                 ATTORNEY TO BE NOTICED
                                                                 Bar Status: Admitted/In Good Standing

                                                                 Brian Walters Stoltz-DOJ
                                                                 (See above for address)
                                                                 TERMINATED: 08/29/2018
                                                                 Bar Status: Admitted/In Good Standing

Defendant
Nicholas Rasmussen                                represented by Sarah Elizabeth Delaney-DOJ
Director of the National Counterterrorism                        (See above for address)
Center                                                           LEAD ATTORNEY
TERMINATED: 03/15/2019                                           ATTORNEY TO BE NOTICED
                                                                 Bar Status: Admitted/In Good Standing

                                                                 Brian Walters Stoltz-DOJ
                                                                 (See above for address)
                                                                 TERMINATED: 08/29/2018
                                                                 Bar Status: Admitted/In Good Standing

Defendant
Jeh C Johnson                                     represented by Sarah Elizabeth Delaney-DOJ
Director of the Department of Homeland                           (See above for address)
Security                                                         LEAD ATTORNEY
TERMINATED: 04/11/2017                                           ATTORNEY TO BE NOTICED
                                                                 Bar Status: Admitted/In Good Standing

                                                                 Brian Walters Stoltz-DOJ
                                                                 (See above for address)
                                                                 TERMINATED: 08/29/2018
                                                                 Bar Status: Admitted/In Good Standing

Defendant
R. Gil Kerlikowske                                represented by Sarah Elizabeth Delaney-DOJ
Commissioner of the United States Customs                        (See above for address)
and Border Protection                                            LEAD ATTORNEY
TERMINATED: 04/11/2017                                           ATTORNEY TO BE NOTICED
                                                                 Bar Status: Admitted/In Good Standing

                                                                 Brian Walters Stoltz-DOJ
                                                                 (See above for address)
                                                                 TERMINATED: 08/29/2018
                                                                 Bar Status: Admitted/In Good Standing

Defendant
Peter Neffenger                                   represented by Sarah Elizabeth Delaney-DOJ
Administrator of the United States                               (See above for address)
Transporation Security Administration                            LEAD ATTORNEY
TERMINATED: 04/11/2017                                           ATTORNEY TO BE NOTICED
                                                                 Bar Status: Admitted/In Good Standing

                                                                                                 24-11042.5
              Case: 24-11042            Document: 42   Page: 10     Date Filed: 02/10/2025


                                                                 Brian Walters Stoltz-DOJ
                                                                 (See above for address)
                                                                 TERMINATED: 08/29/2018
                                                                 Bar Status: Admitted/In Good Standing

Defendant
Sarah R Saldana                                   represented by Sarah Elizabeth Delaney-DOJ
Director of United States Immigration and                        (See above for address)
Customs Enforcement                                              LEAD ATTORNEY
TERMINATED: 04/11/2017                                           ATTORNEY TO BE NOTICED
                                                                 Bar Status: Admitted/In Good Standing

                                                                 Brian Walters Stoltz-DOJ
                                                                 (See above for address)
                                                                 TERMINATED: 08/29/2018
                                                                 Bar Status: Admitted/In Good Standing

Defendant
Jefferson B. Sessions                             represented by Sarah Elizabeth Delaney-DOJ
Attorney General of the United States                            (See above for address)
TERMINATED: 02/14/2019                                           LEAD ATTORNEY
                                                                 ATTORNEY TO BE NOTICED
                                                                 Bar Status: Admitted/In Good Standing

                                                                 Brian Walters Stoltz-DOJ
                                                                 (See above for address)
                                                                 TERMINATED: 08/29/2018
                                                                 Bar Status: Admitted/In Good Standing

Defendant
John F Kelly                                      represented by Sarah Elizabeth Delaney-DOJ
Secretary of Homeland Security                                   (See above for address)
TERMINATED: 03/15/2019                                           LEAD ATTORNEY
                                                                 ATTORNEY TO BE NOTICED
                                                                 Bar Status: Admitted/In Good Standing

                                                                 Brian Walters Stoltz-DOJ
                                                                 (See above for address)
                                                                 TERMINATED: 08/29/2018
                                                                 Bar Status: Admitted/In Good Standing

Defendant
Kevin K McAleenan                                 represented by Sarah Elizabeth Delaney-DOJ
Commissioner of US Customs and Border                            (See above for address)
Protection, in his official capacity                             LEAD ATTORNEY
                                                                 ATTORNEY TO BE NOTICED
                                                                 Bar Status: Admitted/In Good Standing

                                                                 Brian Walters Stoltz-DOJ
                                                                 (See above for address)

                                                                                                 24-11042.6
              Case: 24-11042          Document: 42   Page: 11       Date Filed: 02/10/2025

                                                                 TERMINATED: 08/29/2018
                                                                 Bar Status: Admitted/In Good Standing

Defendant
Huban Gowadia                                   represented by Sarah Elizabeth Delaney-DOJ
Acting Administrator of the United States                      (See above for address)
Transporation Security Administration                          LEAD ATTORNEY
TERMINATED: 03/15/2019                                         ATTORNEY TO BE NOTICED
                                                               Bar Status: Admitted/In Good Standing

                                                                 Brian Walters Stoltz-DOJ
                                                                 (See above for address)
                                                                 TERMINATED: 08/29/2018
                                                                 Bar Status: Admitted/In Good Standing

Defendant
Thomas D Homan                                  represented by Sarah Elizabeth Delaney-DOJ
Acting Director of United States                               (See above for address)
Immigration and Customs Enforcement                            LEAD ATTORNEY
TERMINATED: 03/15/2019                                         ATTORNEY TO BE NOTICED
                                                               Bar Status: Admitted/In Good Standing

                                                                 Brian Walters Stoltz-DOJ
                                                                 (See above for address)
                                                                 TERMINATED: 08/29/2018
                                                                 Bar Status: Admitted/In Good Standing

Defendant
William P Barr                                  represented by Sarah Elizabeth Delaney-DOJ
Attorney General of the United States, in                      (See above for address)
his official capacity                                          LEAD ATTORNEY
                                                               ATTORNEY TO BE NOTICED
                                                               Bar Status: Admitted/In Good Standing

Defendant
Kirstjen M Nielsen                              represented by Sarah Elizabeth Delaney-DOJ
US Secretary of Homeland Security, in her                      (See above for address)
official capacity                                              LEAD ATTORNEY
                                                               ATTORNEY TO BE NOTICED
                                                               Bar Status: Admitted/In Good Standing

Defendant
Ronald D Vitiello                               represented by Sarah Elizabeth Delaney-DOJ
Acting Director of US Immigration and                          (See above for address)
Customs Enforcement, in his official                           LEAD ATTORNEY
capacity                                                       ATTORNEY TO BE NOTICED
                                                               Bar Status: Admitted/In Good Standing

Defendant
                                                represented by

                                                                                                 24-11042.7
               Case: 24-11042              Document: 42   Page: 12     Date Filed: 02/10/2025

David P Pekoske                                                     Sarah Elizabeth Delaney-DOJ
Administrator of the Transportation                                 (See above for address)
Security Administration, in his official                            LEAD ATTORNEY
capacity                                                            ATTORNEY TO BE NOTICED
TERMINATED: 06/18/2024                                              Bar Status: Admitted/In Good Standing

Defendant
US Department of Homeland Security                   represented by Sarah Elizabeth Delaney-DOJ
                                                                    (See above for address)
                                                                    LEAD ATTORNEY
                                                                    ATTORNEY TO BE NOTICED
                                                                    Bar Status: Admitted/In Good Standing

Defendant
US Customs and Border Protection                     represented by Sarah Elizabeth Delaney-DOJ
                                                                    (See above for address)
                                                                    LEAD ATTORNEY
                                                                    ATTORNEY TO BE NOTICED
                                                                    Bar Status: Admitted/In Good Standing

Defendant
US Immigration and Customs                           represented by Sarah Elizabeth Delaney-DOJ
Enforcement                                                         (See above for address)
                                                                    LEAD ATTORNEY
                                                                    ATTORNEY TO BE NOTICED
                                                                    Bar Status: Admitted/In Good Standing

Defendant
Transportation Security Administration               represented by Sarah Elizabeth Delaney-DOJ
TERMINATED: 06/18/2024                                              (See above for address)
                                                                    LEAD ATTORNEY
                                                                    ATTORNEY TO BE NOTICED
                                                                    Bar Status: Admitted/In Good Standing

Amicus
The R Street Institute                               represented by Daniel Rolf Adler
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                                                                    PRO HAC VICE
                                                                    ATTORNEY TO BE NOTICED
                                                                    Bar Status: Not Admitted

                                                                    William Francis Cole
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                                                                    333 S. Grand Avenue


                                                                                                    24-11042.8
             Case: 24-11042       Document: 42         Page: 13       Date Filed: 02/10/2025

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                                                                  ATTORNEY TO BE NOTICED
                                                                  Bar Status: Not Admitted


Date Filed             #               Docket Text

12/23/2016                  1 (p.30)   COMPLAINT against James Comey, Jeh Johnson, R. Gil
                                       Kerlikowske, Loretta Lynch, Peter Neffenger, Christopher
                                       Piehota, Nicholas Rasmussen, Sarah R Saldana filed by
                                       GEORGE ANIBOWEI. (Filing fee $400; Receipt number
                                       0539-8093202) Clerk to issue summons(es) for federal
                                       defendant(s). In each Notice of Electronic Filing, the
                                       judge assignment is indicated, and a link to the Judges
                                       Copy Requirements is provided. The court reminds the
                                       filer that any required copy of this and future documents
                                       must be delivered to the judge, in the manner prescribed,
                                       within three business days of filing. Unless exempted,
                                       attorneys who are not admitted to practice in the Northern
                                       District of Texas must seek admission promptly. Forms,
                                       instructions, and exemption information may be found at
                                       www.txnd.uscourts.gov, or by clicking here: Attorney
                                       Information - Bar Membership. If admission requirements
                                       are not satisfied within 21 days, the clerk will notify the
                                       presiding judge. (Attachments: # 1 (p.30) Cover Sheet, # 2
                                       (p.56) Exhibit(s) 1, # 3 (p.58) Exhibit(s) 2, # 4 (p.60)
                                       Exhibit(s) 3, # 5 (p.108) Exhibit(s) 4, # 6 (p.133)
                                       Exhibit(s) 5) (Anibowei, George) (Entered: 12/23/2016)

12/23/2016                  2 (p.56)   CERTIFICATE OF INTERESTED
                                       PERSONS/DISCLOSURE STATEMENT by GEORGE
                                       ANIBOWEI. (Anibowei, George) (Entered: 12/23/2016)

12/23/2016                  3 (p.58)   New Case Notes: A filing fee has been paid. Pursuant to
                                       Misc. Order 6, Plaintiff is provided the Notice of Right to
                                       Consent to Proceed Before A U.S. Magistrate Judge
                                       (Judge Ramirez). Clerk to provide copy to plaintiff if not
                                       received electronically. (twd) (Entered: 12/23/2016)

12/23/2016                  4 (p.60)   Summons issued as to All Defendants, U.S. Attorney, and
                                       U.S. Attorney General. (twd) (Entered: 12/23/2016)

03/06/2017                 5 (p.108)   MOTION to Dismiss (under Rule 12(b)(1) and Rule
                                       12(b)(6)) filed by James B Comey, Jeh Johnson, R. Gil
                                       Kerlikowske, Loretta Lynch, Peter Neffenger, Christopher
                                       M Piehota, Nicholas Rasmussen, Sarah R Saldana with
                                       Brief/Memorandum in Support. (Stoltz-DOJ, Brian)
                                       (Entered: 03/06/2017)

03/06/2017                 6 (p.133)   CERTIFICATE OF INTERESTED
                                       PERSONS/DISCLOSURE STATEMENT by James B

                                                                                                     24-11042.9
             Case: 24-11042     Document: 42         Page: 14       Date Filed: 02/10/2025

                                     Comey, Jeh Johnson, R. Gil Kerlikowske, Loretta Lynch,
                                     Peter Neffenger, Christopher M Piehota, Nicholas
                                     Rasmussen, Sarah R Saldana. (Stoltz-DOJ, Brian)
                                     (Entered: 03/06/2017)

03/13/2017               7 (p.135)   Order for Scheduling Order Proposal: Proposed
                                     Scheduling Order due by 4/10/2017. (Ordered by Judge
                                     Sidney A Fitzwater on 3/13/2017) (axm) (Entered:
                                     03/13/2017)

03/25/2017               8 (p.139)   AMENDED COMPLAINT against All Defendants filed
                                     by George Anibowei. Unless exempted, attorneys who are
                                     not admitted to practice in the Northern District of Texas
                                     must seek admission promptly. Forms, instructions, and
                                     exemption information may be found at
                                     www.txnd.uscourts.gov, or by clicking here: Attorney
                                     Information - Bar Membership. If admission requirements
                                     are not satisfied within 21 days, the clerk will notify the
                                     presiding judge. (Attachments: # 1 (p.30) Exhibit(s) 1, # 2
                                     (p.56) Exhibit(s) 2, # 3 (p.58) Exhibit(s) 3, # 4 (p.60)
                                     Exhibit(s) 4, # 5 (p.108) Exhibit(s) 5, # 6 (p.133)
                                     Exhibit(s) 6) (Anibowei, George) (Entered: 03/25/2017)

03/27/2017               9 (p.168)   REPLY filed by George Anibowei re: 5 (p.108) MOTION
                                     to Dismiss (under Rule 12(b)(1) and Rule 12(b)(6))
                                     (Anibowei, George) (Entered: 03/27/2017)

03/31/2017              10 (p.201)   NOTICE of Mootness of Motion to Dismiss Original
                                     Complaint, Due to Filing of a First Amended Complaint
                                     re: 5 (p.108) MOTION to Dismiss (under Rule 12(b)(1)
                                     and Rule 12(b)(6)) filed by James B Comey, Jeh Johnson,
                                     R. Gil Kerlikowske, Loretta Lynch, Peter Neffenger,
                                     Christopher M Piehota, Nicholas Rasmussen, Sarah R
                                     Saldana (Stoltz-DOJ, Brian) (Entered: 03/31/2017)

03/31/2017                     11    ELECTRONIC ORDER terminating as moot 5 (p.108)
                                     MOTION to Dismiss (under Rule 12(b)(1) and Rule
                                     12(b)(6)) filed by James B Comey, Jeh Johnson, R. Gil
                                     Kerlikowske, Loretta Lynch, Peter Neffenger, Christopher
                                     M Piehota, Nicholas Rasmussen, Sarah R Saldana.
                                     (Ordered by Judge Sidney A Fitzwater on 3/31/2017)
                                     (Judge Sidney A Fitzwater) (Entered: 03/31/2017)

04/10/2017              12 (p.203)   Joint STATUS REPORT (Scheduling Proposal) filed by
                                     James B Comey, Jeh Johnson, R. Gil Kerlikowske,
                                     Loretta Lynch, Peter Neffenger, Christopher M Piehota,
                                     Nicholas Rasmussen, Sarah R Saldana. (Stoltz-DOJ,
                                     Brian) (Entered: 04/10/2017)

04/10/2017              13 (p.207)   MOTION to Dismiss Plaintiff's First Amended Complaint
                                     filed by James B Comey, Jeh Johnson, R. Gil
                                     Kerlikowske, Loretta Lynch, Peter Neffenger, Christopher
                                     M Piehota, Nicholas Rasmussen, Sarah R Saldana with
                                     Brief/Memorandum in Support. (Stoltz-DOJ, Brian)
                                     (Entered: 04/10/2017)

                                                                                                   24-11042.10
             Case: 24-11042     Document: 42         Page: 15      Date Filed: 02/10/2025

04/11/2017              14 (p.234)   ORDER OF REFERENCE: Defendants' 4/10/2017 13
                                     (p.207) motion to dismiss plaintiff's firstamended
                                     complaint is REFERRED to United States Magistrate
                                     Judge Irma Carrillo Ramirez for recommendation. She
                                     may conduct a hearing if she determines that a hearing is
                                     necessary. (Ordered by Judge Sidney A Fitzwater on
                                     4/11/2017) (sss) (Entered: 04/11/2017)

04/11/2017              15 (p.235)   ORDER re: 13 (p.207) Defendants' Motion to Dismiss
                                     Plaintiff's First Amended Complaint. Respondent may file
                                     a response by 5/1/2017. Movant may file a reply by
                                     5/15/2017. (Ordered by Magistrate Judge Irma Carrillo
                                     Ramirez on 4/11/2017) (mcrd) (Entered: 04/11/2017)

04/24/2017              16 (p.236)   SCHEDULING ORDER: Amended Pleadings due by
                                     7/17/2017. Discovery due by 3/23/2018. Joinder of Parties
                                     due by 7/17/2017. Motions due by 3/23/2018. Status
                                     Report due by 3/23/2018. (Ordered by Judge Sidney A
                                     Fitzwater on 4/24/2017) (rekc) (Entered: 04/24/2017)

05/01/2017              17 (p.240)   RESPONSE filed by George Anibowei re: 13 (p.207)
                                     MOTION to Dismiss Plaintiff's First Amended Complaint
                                     (Anibowei, George) (Entered: 05/01/2017)

05/15/2017              18 (p.280)   REPLY filed by James B Comey, Huban Gowadia,
                                     Thomas D Homan, John F Kelly, Kevin K McAleenan,
                                     Christopher M Piehota, Nicholas Rasmussen, Jefferson B.
                                     Sessions re: 13 (p.207) MOTION to Dismiss Plaintiff's
                                     First Amended Complaint (Stoltz-DOJ, Brian) (Entered:
                                     05/15/2017)

12/15/2017              19 (p.291)   Findings, Conclusions, and Recommendation re: 13
                                     (p.207) Defendants' Motion to Dismiss Plaintiff's First
                                     Amended Complaint. Defendants' Rule 12(b)(1) motion to
                                     dismiss should be DENIED, and their Rule 12(b)(6)
                                     motion to dismiss should be GRANTED in part. Plaintiff's
                                     Bivens claims should be DISMISSED with prejudice for
                                     failure to state a claim, and his APA claims should sua
                                     sponte be DISMISSED without prejudice for lack of
                                     subject-matter jurisdiction. (Ordered by Magistrate Judge
                                     Irma Carrillo Ramirez on 12/15/2017) (mcrd) (Entered:
                                     12/15/2017)

12/29/2017              20 (p.306)   OBJECTION to 19 (p.291) Findings and
                                     Recommendations on Defendants' Motion to Dismiss.
                                     (Stoltz-DOJ, Brian) (Entered: 12/29/2017)

01/10/2018              21 (p.338)   OBJECTION to 19 (p.291) Findings and
                                     Recommendations Response. (Anibowei, George)
                                     (Entered: 01/10/2018)

01/24/2018              22 (p.362)   REPLY filed by James B Comey, Huban Gowadia,
                                     Thomas D Homan, John F Kelly, Kevin K McAleenan,
                                     Christopher M Piehota, Nicholas Rasmussen, Jefferson B.
                                     Sessions re: 20 (p.306) Objection to Findings and


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                                     Recommendations (Stoltz-DOJ, Brian) (Entered:
                                     01/24/2018)

03/22/2018              23 (p.368)   Joint MOTION to Stay Deadlines filed by James B
                                     Comey, Huban Gowadia, Thomas D Homan, John F
                                     Kelly, Kevin K McAleenan, Christopher M Piehota,
                                     Nicholas Rasmussen, Jefferson B. Sessions with
                                     Brief/Memorandum in Support. Attorney Brian Walters
                                     Stoltz-DOJ added to party Huban Gowadia(pty:dft),
                                     Attorney Brian Walters Stoltz-DOJ added to party
                                     Thomas D Homan(pty:dft), Attorney Brian Walters
                                     Stoltz-DOJ added to party John F Kelly(pty:dft), Attorney
                                     Brian Walters Stoltz-DOJ added to party Kevin K
                                     McAleenan(pty:dft), Attorney Brian Walters Stoltz-DOJ
                                     added to party Jefferson B. Sessions(pty:dft) (Stoltz-DOJ,
                                     Brian) (Entered: 03/22/2018)

03/22/2018              24 (p.371)   Joint STATUS REPORT filed by James B Comey, Huban
                                     Gowadia, Thomas D Homan, John F Kelly, Kevin K
                                     McAleenan, Christopher M Piehota, Nicholas Rasmussen,
                                     Jefferson B. Sessions. (Stoltz-DOJ, Brian) (Entered:
                                     03/22/2018)

03/22/2018              25 (p.373)   ORDER granting 23 (p.368) Joint Motion to Stay
                                     Deadlines. (Ordered by Judge Sidney A Fitzwater on
                                     3/22/2018) (ran) (Entered: 03/22/2018)

03/27/2018              26 (p.374)   MEMORANDUM OPINION AND ORDER adopting in
                                     part and re-referring in part 19 (p.291) Findings and
                                     Recommendations on Motion re: 13 (p.207) Motion to
                                     Dismiss filed by Peter Neffenger, Loretta E Lynch, Jeh C
                                     Johnson, Nicholas Rasmussen, R. Gil Kerlikowske, Sarah
                                     R Saldana, Christopher M Piehota, James B Comey. The
                                     13 (p.207) MOTION to Dismiss filed by Peter Neffenger,
                                     Loretta E Lynch, Jeh C Johnson, Nicholas Rasmussen, R.
                                     Gil Kerlikowske, Sarah R Saldana, Christopher M
                                     Piehota, James B Comey is granted in part and re-referred
                                     in part to the United States Magistrate Judge. (Ordered by
                                     Judge Sidney A Fitzwater on 3/27/2018) (Judge Sidney A
                                     Fitzwater) (Entered: 03/27/2018)

08/16/2018              27 (p.379)   TRIAL SETTING ORDER: Trial set for Court's
                                     two-week docket beginning 7/8/2019 before Judge Sidney
                                     A Fitzwater. (Ordered by Judge Sidney A Fitzwater on
                                     8/16/2018) (aaa) (Entered: 08/16/2018)

08/29/2018              28 (p.384)   Notice of Substitution of Counsel by AUSA. Sarah
                                     Elizabeth Delaney-DOJ added as AUSA. (Delaney-DOJ,
                                     Sarah) (Entered: 08/29/2018)

10/18/2018              29 (p.386)   SUPPLEMENTAL FINDINGS, CONCLUSIONS, AND
                                     RECOMMENDATION on Case re: 1 (p.30) Complaint.
                                     Plaintiff's claims for injunctive relief against Defendants
                                     in their official capacities should be DISMISSED with
                                     prejudice (Ordered by Magistrate Judge Irma Carrillo

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                                     Ramirez on 10/18/2018) (epm) (Entered: 10/19/2018)

11/02/2018              30 (p.396)   Unopposed MOTION to Extend Time TO FILE
                                     PLAINTIFF'S OBJECTION filed by George Anibowei
                                     with Brief/Memorandum in Support. (Attachments: # 1
                                     (p.30) Proposed Order) (Anibowei, George) (Entered:
                                     11/02/2018)

11/02/2018              31 (p.401)   ORDER granting 30 (p.396) Motion to Extend Time to
                                     file Objections. Objections to F&R due by 11/7/2018
                                     (Ordered by Senior Judge Sidney A Fitzwater on
                                     11/2/2018) (ndt) (Entered: 11/02/2018)

11/05/2018              32 (p.402)   OBJECTION filed by George Anibowei re: 29 (p.386)
                                     Findings and Recommendations on Case re: 1 (p.30)
                                     Complaint, filed by George Anibowei. (Anibowei,
                                     George) (Entered: 11/05/2018)

11/19/2018              33 (p.421)   RESPONSE filed by James B Comey, Huban Gowadia,
                                     Thomas D Homan, John F Kelly, Kevin K McAleenan,
                                     Christopher M Piehota, Nicholas Rasmussen, Jefferson B.
                                     Sessions re: 32 (p.402) Response/Objection
                                     (Delaney-DOJ, Sarah) (Entered: 11/19/2018)

12/28/2018              34 (p.454)   Order Granting Government's Omnibus Motion for Stay
                                     of Cases in Light of Lapse of Appropriations (Ordered by
                                     Chief Judge Barbara M.G. Lynn on 12/28/2018)
                                     (Attachments: # 1 (p.30) Government's Omnibus Motion
                                     for Stay) (lrl) (Entered: 12/28/2018)

01/28/2019              35 (p.464)   ORDER GRANTING GOVERNMENT'S OMNIBUS
                                     MOTION FOR LIFT OF STAY: Unless otherwise
                                     directed by the United States District Judge presiding in a
                                     particular case, all deadlines that had not expired on or
                                     before December 21, 2018 in a case covered by the stay
                                     order are extended for 34 days (i.e., the duration of the
                                     lapse in appropriations for the Department of Justice).
                                     (Ordered by Chief Judge Barbara M.G. Lynn on
                                     1/26/2019) (Attachments: # 1 (p.30) Additional Page(s)
                                     Omnibus Motion to Lift Stay) (ctf) (Entered: 01/28/2019)

02/14/2019              36 (p.473)   MEMORANDUM OPINION AND ORDER adopting in
                                     part 29 (p.386) SUPPLEMENTAL FINDINGS,
                                     CONCLUSIONS, AND RECOMMENDATION on Case
                                     re: 1 (p.30) Complaint. The court dismisses plaintiff's
                                     claims with leave to file a second amended complaint.
                                     (Ordered by Senior Judge Sidney A Fitzwater on
                                     2/14/2019) (Senior Judge Sidney A Fitzwater) (Entered:
                                     02/14/2019)

03/11/2019              37 (p.492)   NOTICE of Attorney Appearance by Hani Mirza on
                                     behalf of George Anibowei. (Filer confirms contact info
                                     in ECF is current.) (Mirza, Hani) (Entered: 03/11/2019)

03/12/2019              38 (p.495)   APPLICATION FOR ADMISSION PRO HAC VICE
                                     (NOTICE of Attorney Appearance) by Jayce Lane Born

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                                     on behalf of George Anibowei. (Filer confirms contact
                                     info in ECF is current.) (Attachments: # 1 (p.30) Certicate
                                     of Good Standing, # 2 (p.56) Proposed Order) (Born,
                                     Jayce) Modified event and text to match document on
                                     3/13/2019 (dsr). (Entered: 03/12/2019)

03/12/2019              39 (p.500)   NOTICE of Attorney Appearance by Jayce Lane Born on
                                     behalf of George Anibowei. (Born, Jayce) (Entered:
                                     03/12/2019)

03/13/2019              40 (p.501)   Application for Admission Pro Hac Vice with Certificate
                                     of Good Standing (Filing fee $25; Receipt number
                                     0539-9844229) filed by George Anibowei (Attachments:
                                     # 1 (p.30) Certificate of Good Standing, # 2 (p.56)
                                     Proposed Order, # 3 (p.58) Appearance of
                                     Counsel)Attorney Emily Rebecca Chertoff added to party
                                     George Anibowei(pty:pla) (Chertoff, Emily) (Entered:
                                     03/13/2019)

03/13/2019                           NOTICE of Attorney Appearance by Emily Rebecca
                                     Chertoff on behalf of George Anibowei. (See Doc [40-3]
                                     for image.) (dsr) (Entered: 03/13/2019)

03/13/2019              41 (p.507)   Application for Admission Pro Hac Vice with Certificate
                                     of Good Standing (Filing fee $25; Receipt number
                                     0539-9844356) filed by George Anibowei (Attachments:
                                     # 1 (p.30) Certificate of Good Standing, # 2 (p.56)
                                     Proposed Order, # 3 (p.58) Appearance of
                                     Counsel)Attorney Stephen K Wirth added to party George
                                     Anibowei(pty:pla) (Wirth, Stephen) (Entered:
                                     03/13/2019)

03/13/2019                           NOTICE of Attorney Appearance by Stephen K Wirth on
                                     behalf of George Anibowei. (See Doc [41-3] for image.)
                                     (dsr) (Entered: 03/13/2019)

03/13/2019              42 (p.513)   Application for Admission Pro Hac Vice with Certificate
                                     of Good Standing (Filing fee $25; Receipt number
                                     0539-9844401) filed by George Anibowei (Attachments:
                                     # 1 (p.30) Certificate of Good Standing, # 2 (p.56)
                                     Proposed Order, # 3 (p.58) Appearance of
                                     Counsel)Attorney Sam Callahan added to party George
                                     Anibowei(pty:pla) (Callahan, Sam) (Entered: 03/13/2019)

03/13/2019              43 (p.519)   Application for Admission Pro Hac Vice with Certificate
                                     of Good Standing (Filing fee $25; Receipt number
                                     0539-9844470) filed by George Anibowei (Attachments:
                                     # 1 (p.30) Certificate of Good Standing, # 2 (p.56)
                                     Proposed Order, # 3 (p.58) Appearance of
                                     Counsel)Attorney Andrew Tutt added to party George
                                     Anibowei(pty:pla) (Tutt, Andrew) (Entered: 03/13/2019)

03/13/2019              44 (p.525)   Application for Admission Pro Hac Vice with Certificate
                                     of Good Standing (Filing fee $25; Receipt number
                                     0539-9844512) filed by George Anibowei (Attachments:


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                                     # 1 (p.30) Certificate of Good Standing, # 2 (p.56)
                                     Proposed Order, # 3 (p.58) Appearance of
                                     Counsel)Attorney Robert Stanton Jones added to party
                                     George Anibowei(pty:pla) (Jones, Robert) (Entered:
                                     03/13/2019)

03/13/2019                     45    ELECTRONIC ORDER granting 38 (p.495) Application
                                     for Admission Pro Hac Vice of Jayce Lane Born. If not
                                     already done, Applicant must register as an ECF User
                                     within 14 days (LR 5.1(f)). (Ordered by Senior Judge
                                     Sidney A Fitzwater on 3/13/2019) (Senior Judge Sidney A
                                     Fitzwater) (Entered: 03/13/2019)

03/13/2019                     46    ADVISORY TO COUNSEL: The certificate of good
                                     standing attached to 40 (p.501) the pro hac vice
                                     application of Emily Rebecca Chertoff is the certificate of
                                     good standing for Jayce Lane Born [40-1]. Please submit
                                     the correct certificate of good standing. (Senior Judge
                                     Sidney A. Fitzwater). (Entered: 03/13/2019)

03/13/2019                     47    ELECTRONIC ORDER granting 41 (p.507) Application
                                     for Admission Pro Hac Vice of Stephen K. Wirth. If not
                                     already done, Applicant must register as an ECF User
                                     within 14 days (LR 5.1(f)). (Ordered by Senior Judge
                                     Sidney A Fitzwater on 3/13/2019) (Senior Judge Sidney A
                                     Fitzwater) (Entered: 03/13/2019)

03/13/2019                     48    ELECTRONIC ORDER granting 42 (p.513) Application
                                     for Admission Pro Hac Vice of Sam Callahan. If not
                                     already done, Applicant must register as an ECF User
                                     within 14 days (LR 5.1(f)). (Ordered by Senior Judge
                                     Sidney A Fitzwater on 3/13/2019) (Senior Judge Sidney A
                                     Fitzwater) (Entered: 03/13/2019)

03/13/2019                     49    ELECTRONIC ORDER granting 43 (p.519) Application
                                     for Admission Pro Hac Vice of Andrew Tutt. If not
                                     already done, Applicant must register as an ECF User
                                     within 14 days (LR 5.1(f)). (Ordered by Senior Judge
                                     Sidney A Fitzwater on 3/13/2019) (Senior Judge Sidney A
                                     Fitzwater) (Entered: 03/13/2019)

03/13/2019                     50    ELECTRONIC ORDER granting 44 (p.525) Application
                                     for Admission Pro Hac Vice of Robert Stanton Jones. If
                                     not already done, Applicant must register as an ECF User
                                     within 14 days (LR 5.1(f)). (Ordered by Senior Judge
                                     Sidney A Fitzwater on 3/13/2019) (Senior Judge Sidney A
                                     Fitzwater) (Entered: 03/13/2019)

03/13/2019              51 (p.531)   SUPPLEMENTAL DOCUMENT by George Anibowei.
                                     Supplement to 40 (p.501) Application for Admission Pro
                                     Hac Vice with Certificate of Good Standing (Filing fee
                                     $25; Receipt number 0539-9844229). (correct Certificate
                                     of Good Standing). (Chertoff, Emily) Modified on
                                     3/13/2019 (dsr). (Entered: 03/13/2019)



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03/13/2019                     52    ELECTRONIC ORDER granting 40 (p.501) Application
                                     for Admission Pro Hac Vice of Emily Rebecca Chertoff.
                                     If not already done, Applicant must register as an ECF
                                     User within 14 days (LR 5.1(f)). (Ordered by Senior
                                     Judge Sidney A Fitzwater on 3/13/2019) (Senior Judge
                                     Sidney A Fitzwater) (Entered: 03/13/2019)

03/13/2019              53 (p.532)   Application for Admission Pro Hac Vice with Certificate
                                     of Good Standing (Filing fee $25; Receipt number
                                     0539-9845039) filed by George Anibowei (Attachments:
                                     # 1 (p.30) Exhibit(s), # 2 (p.56) Proposed Order, # 3
                                     (p.58) Exhibit(s))Attorney Peter Steffensen added to party
                                     George Anibowei(pty:pla) (Steffensen, Peter) (Entered:
                                     03/13/2019)

03/13/2019                     54    ELECTRONIC ORDER granting 53 (p.532) Application
                                     for Admission Pro Hac Vice of Peter Steffensen. If not
                                     already done, Applicant must register as an ECF User
                                     within 14 days (LR 5.1(f)). (Ordered by Senior Judge
                                     Sidney A Fitzwater on 3/13/2019) (Senior Judge Sidney A
                                     Fitzwater) (Entered: 03/13/2019)

03/14/2019              55 (p.538)   AMENDED DOCUMENT by George Anibowei.
                                     Amendment to 44 (p.525) Application for Admission Pro
                                     Hac Vice with Certificate of Good Standing (Filing fee
                                     $25; Receipt number 0539-9844512). (Corrected
                                     Proposed Order). (Jones, Robert) (Entered: 03/14/2019)

03/14/2019              56 (p.539)   Application for Admission Pro Hac Vice with Certificate
                                     of Good Standing (Filing fee $25; Receipt number
                                     0539-9847971) filed by George Anibowei (Attachments:
                                     # 1 (p.30) Certificate of Good Standing, # 2 (p.56)
                                     Proposed Order)Attorney Graham White added to party
                                     George Anibowei(pty:pla) (White, Graham) (Entered:
                                     03/14/2019)

03/14/2019              57 (p.544)   NOTICE of Attorney Appearance by Graham White on
                                     behalf of George Anibowei. (Filer confirms contact info
                                     in ECF is current.) (White, Graham) (Entered:
                                     03/14/2019)

03/14/2019                     58    ELECTRONIC ORDER granting 56 (p.539) Application
                                     for Admission Pro Hac Vice of Graham White. If not
                                     already done, Applicant must register as an ECF User
                                     within 14 days (LR 5.1(f)). (Ordered by Senior Judge
                                     Sidney A Fitzwater on 3/14/2019) (Senior Judge Sidney A
                                     Fitzwater) (Entered: 03/14/2019)

03/14/2019              59 (p.545)   Verified Second AMENDED COMPLAINT against
                                     William P Barr, Kevin K McAleenan, Kirstjen M Nielsen,
                                     Ronald D Vitiello, David P Pekoske, US Department of
                                     Homeland Security, US Customs and Border Protection,
                                     US Immigration and Customs Enforcement,
                                     Transportation Security Administration filed by George
                                     Anibowei. (One or more defendant(s) is no longer

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                                     named.) Clerk to issue summons(es) for new federal
                                     defendant(s). Unless exempted, attorneys who are not
                                     admitted to practice in the Northern District of Texas
                                     must seek admission promptly. Forms, instructions, and
                                     exemption information may be found at
                                     www.txnd.uscourts.gov, or by clicking here: Attorney
                                     Information - Bar Membership. If admission requirements
                                     are not satisfied within 21 days, the clerk will notify the
                                     presiding judge. (Callahan, Sam) (Entered: 03/14/2019)

03/15/2019              60 (p.583)   Summons issued as to Kirstjen M Nielsen, David P
                                     Pekoske, Transportation Security Administration, US
                                     Customs and Border Protection, US Department of
                                     Homeland Security, US Immigration and Customs
                                     Enforcement, Ronald D Vitiello, US Attorney, and US
                                     Attorney General. (mla) (Entered: 03/15/2019)

03/26/2019              61 (p.625)   MOTION to Set Briefing Schedule for Defendants'
                                     Response to Plaintiff's Second Amended Complaint filed
                                     by William P Barr, Kevin K McAleenan, Kirstjen M
                                     Nielsen, David P Pekoske, Transportation Security
                                     Administration, US Customs and Border Protection, US
                                     Department of Homeland Security, US Immigration and
                                     Customs Enforcement, Ronald D Vitiello with
                                     Brief/Memorandum in Support. Attorney Sarah Elizabeth
                                     Delaney-DOJ added to party Kirstjen M Nielsen(pty:dft),
                                     Attorney Sarah Elizabeth Delaney-DOJ added to party
                                     David P Pekoske(pty:dft), Attorney Sarah Elizabeth
                                     Delaney-DOJ added to party Transportation Security
                                     Administration(pty:dft), Attorney Sarah Elizabeth
                                     Delaney-DOJ added to party US Customs and Border
                                     Protection(pty:dft), Attorney Sarah Elizabeth
                                     Delaney-DOJ added to party US Department of Homeland
                                     Security(pty:dft), Attorney Sarah Elizabeth Delaney-DOJ
                                     added to party US Immigration and Customs
                                     Enforcement(pty:dft), Attorney Sarah Elizabeth
                                     Delaney-DOJ added to party Ronald D Vitiello(pty:dft)
                                     (Delaney-DOJ, Sarah) (Entered: 03/26/2019)

03/26/2019              62 (p.628)   ORDER: 61 (p.625) Motion to set briefing schedule for
                                     defendants' response to plaintiffs second amended
                                     complaint is granted. Answer due 5/14/2019 (Ordered by
                                     Senior Judge Sidney A Fitzwater on 3/26/2019) (svc)
                                     (Entered: 03/26/2019)

03/26/2019                           Answer due from William P Barr on 5/14/2019; Kevin K
                                     McAleenan on 5/14/2019; Kirstjen M Nielsen on
                                     5/14/2019; David P Pekoske on 5/14/2019; Transportation
                                     Security Administration on 5/14/2019; US Customs and
                                     Border Protection on 5/14/2019; US Department of
                                     Homeland Security on 5/14/2019; US Immigration and
                                     Customs Enforcement on 5/14/2019; Ronald D Vitiello on
                                     5/14/2019 to 59 (p.545) Amended Complaint filed
                                     03/14/2019. (svc) (Entered: 03/26/2019)


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04/02/2019              63 (p.629)   SUMMONS Returned Executed as to Kirstjen M Nielsen;
                                     served on 3/18/2019; David P Pekoske; served on
                                     3/18/2019; Transportation Security Administration;
                                     served on 3/18/2019; US Customs and Border Protection;
                                     served on 3/18/2019; US Department of Homeland
                                     Security; served on 3/18/2019; US Immigration and
                                     Customs Enforcement; served on 3/18/2019; Ronald D
                                     Vitiello; served on 3/18/2019. (Attachments: # 1 (p.30)
                                     Declaration(s) Andrew Tutt, # 2 (p.56) Declaration(s)
                                     Darrell Reddix) (Tutt, Andrew) (Entered: 04/02/2019)

04/02/2019              64 (p.638)   MOTION to Withdraw as Attorney filed by George
                                     Anibowei (Chertoff, Emily) (Entered: 04/02/2019)

04/04/2019                     65    ADVISORY TO COUNSEL: Please submit your
                                     proposed order for the following motion -- in modifiable
                                     Word or WordPerfect format -- to
                                     Fitzwater_Orders@txnd.uscourts.gov.: 64 (p.638)
                                     MOTION to Withdraw as Attorney filed by George
                                     Anibowei (Senior Judge Sidney A. Fitzwater). (Entered:
                                     04/04/2019)

04/08/2019              66 (p.640)   ORDER granting 64 (p.638) Motion to Withdraw as
                                     Attorney. Attorney Emily Rebecca Chertoff terminated.
                                     (Ordered by Senior Judge Sidney A Fitzwater on
                                     4/8/2019) (epm) (Entered: 04/08/2019)

04/16/2019              67 (p.641)   MOTION for Summary Judgment (Partial), MOTION for
                                     Injunction (Preliminary) () filed by George Anibowei
                                     (Attachments: # 1 (p.30) Proposed Order Granting
                                     Plaintiff's Motion for Partial Summary Judgment, # 2
                                     (p.56) Proposed Order Granting Plaintiff's Motion for a
                                     Preliminary Injunction) (Callahan, Sam) (Entered:
                                     04/16/2019)

04/16/2019              68 (p.649)   Brief/Memorandum in Support filed by George Anibowei
                                     re 67 (p.641) MOTION for Summary Judgment (Partial)
                                     MOTION for Injunction (Preliminary) (Callahan, Sam)
                                     (Entered: 04/16/2019)

04/29/2019              69 (p.683)   Application for Admission Pro Hac Vice with Certificate
                                     of Good Standing (Filing fee $25; Receipt number
                                     0539-9952336) filed by The R Street Institute. Party The
                                     R Street Institute added.Attorney William Francis Cole
                                     added to party The R Street Institute(pty:am) (Cole,
                                     William) (Entered: 04/29/2019)

04/29/2019              70 (p.687)   Application for Admission Pro Hac Vice with Certificate
                                     of Good Standing for Attorney Daniel R. Adler (Filing fee
                                     $25; Receipt number 0539-9952342) filed by The R Street
                                     Institute (Cole, William) (Entered: 04/29/2019)

04/29/2019              71 (p.691)   Unopposed MOTION for Leave to File Brief of the R
                                     Street Institute as Amicus Curiae in Support of Plaintiff
                                     George Anibowei's motion for Partial Summary


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                                     Judgment, or, in the Alternative, a Preliminary Injunction
                                     filed by The R Street Institute with Brief/Memorandum in
                                     Support. (Attachments: # 1 (p.30) Exhibit(s) Brief of the
                                     R Street Institute as Amicus Curiae in Support of Plaintiff
                                     George Anibowei's motion for Partial Summary
                                     Judgment, or, in the Alternative, a Preliminary Injunction)
                                     (Cole, William) (Entered: 04/29/2019)

05/01/2019                     72    ELECTRONIC ORDER granting 71 (p.691) Unopposed
                                     MOTION for Leave to File Brief of the R Street Institute
                                     as Amicus Curiae in Support of Plaintiff George
                                     Anibowei's motion for Partial Summary Judgment, or, in
                                     the Alternative, a Preliminary Injunction filed by The R
                                     Street Institute with Brief/Memorandum in Support.
                                     (Unless the document has already been filed, clerk to
                                     enter the document as of the date of this order.) (Ordered
                                     by Senior Judge Sidney A Fitzwater on 5/1/2019) (Senior
                                     Judge Sidney A Fitzwater) (Entered: 05/01/2019)

05/01/2019              73 (p.719)   Brief/Memorandum in Support filed by The R Street
                                     Institute re 67 (p.641) (Partial) MOTION for Injunction
                                     (Preliminary). (epm) (Entered: 05/01/2019)

05/01/2019                     74    ELECTRONIC ORDER granting 69 (p.683) Application
                                     for Admission Pro Hac Vice of William F. Cole. If not
                                     already done, Applicant must register as an ECF User
                                     within 14 days (LR 5.1(f)). (Ordered by Senior Judge
                                     Sidney A Fitzwater on 5/1/2019) (Senior Judge Sidney A
                                     Fitzwater) (Entered: 05/01/2019)

05/01/2019                     75    ELECTRONIC ORDER granting 70 (p.687) Application
                                     for Admission Pro Hac Vice of Daniel R. Adler. If not
                                     already done, Applicant must register as an ECF User
                                     within 14 days (LR 5.1(f)). (Ordered by Senior Judge
                                     Sidney A Fitzwater on 5/1/2019) (Senior Judge Sidney A
                                     Fitzwater) (Entered: 05/01/2019)

05/06/2019              76 (p.739)   Application for Admission Pro Hac Vice with Certificate
                                     of Good Standing (Filing fee $25; Receipt number
                                     0539-9966170) filed by George Anibowei (Attachments:
                                     # 1 (p.30) WDTX Certificate of Good Standing, # 2 (p.56)
                                     Proposed Order)Attorney Mimi Marziani added to party
                                     George Anibowei(pty:pla) (Marziani, Mimi) (Entered:
                                     05/06/2019)

05/07/2019                     77    ADVISORY TO COUNSEL: Your application for
                                     admission pro hac vice 76 (p.739) is deficient. As the
                                     court's application for admission form indicates at § IV,
                                     you must attach to your application an original certificate
                                     of good standing issued within the past 90 days from the
                                     attorney licensing authority in a state in which you are
                                     admitted to practice (e.g., State Bar of Texas). A
                                     certificate of good standing from another federal court,
                                     such as a United States district court, is insufficient.
                                     Please make a separate electronic filing that contains the

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                                     required certificate of good standing (you do not have to
                                     resubmit the remainder of the application). Once you
                                     make this filing, your application for admission pro hac
                                     vice will be acted on. (Senior Judge Sidney A. Fitzwater).
                                     (Entered: 05/07/2019)

05/07/2019              78 (p.744)   RESPONSE filed by William P Barr, Kevin K
                                     McAleenan, Kirstjen M Nielsen, David P Pekoske,
                                     Transportation Security Administration, US Customs and
                                     Border Protection, US Department of Homeland Security,
                                     US Immigration and Customs Enforcement, Ronald D
                                     Vitiello re: 67 (p.641) MOTION for Summary Judgment
                                     (Partial) MOTION for Injunction (Preliminary)
                                     (Delaney-DOJ, Sarah) (Entered: 05/07/2019)

05/07/2019              79 (p.747)   Brief/Memorandum in Support filed by William P Barr,
                                     Kevin K McAleenan, Kirstjen M Nielsen, David P
                                     Pekoske, Transportation Security Administration, US
                                     Customs and Border Protection, US Department of
                                     Homeland Security, US Immigration and Customs
                                     Enforcement, Ronald D Vitiello re 78 (p.744)
                                     Response/Objection, to 67 (p.641) Motion for Summary
                                     Judgment (Partial) Motion for Injunction (Preliminary)
                                     (Delaney-DOJ, Sarah) (Entered: 05/07/2019)

05/07/2019              80 (p.785)   Unopposed MOTION to Stay Response Deadline to
                                     Plaintiff's Second Amended Complaint filed by William P
                                     Barr, Kevin K McAleenan, Kirstjen M Nielsen, David P
                                     Pekoske, Transportation Security Administration, US
                                     Customs and Border Protection, US Department of
                                     Homeland Security, US Immigration and Customs
                                     Enforcement, Ronald D Vitiello with Brief/Memorandum
                                     in Support. (Delaney-DOJ, Sarah) (Entered: 05/07/2019)

05/08/2019              81 (p.788)   ADDITIONAL ATTACHMENTS to 76 (p.739)
                                     Application for Admission Pro Hac Vice, by Plaintiff
                                     George Anibowei. (Marziani, Mimi) (Entered:
                                     05/08/2019)

05/09/2019                     82    ELECTRONIC ORDER granting 76 (p.739) Application
                                     for Admission Pro Hac Vice of Mimi Marziani. If not
                                     already done, Applicant must register as an ECF User
                                     within 14 days (LR 5.1(f)). (Ordered by Senior Judge
                                     Sidney A Fitzwater on 5/9/2019) (Senior Judge Sidney A
                                     Fitzwater) (Entered: 05/09/2019)

05/09/2019              83 (p.789)   ORDER granting 80 (p.785) Unopposed MOTION to
                                     Stay Response Deadline to Plaintiff's Second Amended
                                     Complaint filed by William P Barr, Kevin K McAleenan,
                                     Kirstjen M Nielsen, David P Pekoske, Transportation
                                     Security Administration, US Customs and Border
                                     Protection, US Department of Homeland Security, US
                                     Immigration and Customs Enforcement, Ronald D
                                     Vitiello. (Ordered by Senior Judge Sidney A Fitzwater on
                                     5/9/2019) (Senior Judge Sidney A Fitzwater) (Entered:

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                                     05/09/2019)

05/21/2019              84 (p.790)   REPLY filed by George Anibowei re: 67 (p.641)
                                     MOTION for Summary Judgment (Partial) MOTION for
                                     Injunction (Preliminary) (Tutt, Andrew) (Entered:
                                     05/21/2019)

07/03/2019              85 (p.807)   ORDER: The court on its own initiative resets the trial of
                                     this case to the two-week docket of 2/3/2020. (Ordered by
                                     Senior Judge Sidney A Fitzwater on 7/3/2019) (zkc)
                                     (Entered: 07/03/2019)

10/10/2019              86 (p.809)   Joint MOTION to Stay Deadlines filed by William P
                                     Barr, Kevin K McAleenan, David P Pekoske,
                                     Transportation Security Administration, US Customs and
                                     Border Protection, US Department of Homeland Security,
                                     US Immigration and Customs Enforcement with
                                     Brief/Memorandum in Support. (Delaney-DOJ, Sarah)
                                     (Entered: 10/10/2019)

10/11/2019              87 (p.812)   ORDER granting 86 (p.809) Motion to Stay Deadlines.
                                     The unexpired deadlines in this case are stayed, and the
                                     trial setting of the two-week docket of February 3, 2020 is
                                     vacated. (Ordered by Senior Judge Sidney A Fitzwater on
                                     10/11/2019) (ndt) (Entered: 10/11/2019)

11/18/2019                     88    ADVISORY TO COUNSEL: The court intends to hear
                                     oral argument on 67 (p.641) plaintiff's motion for partial
                                     summary judgment, or, in the alternative, a preliminary
                                     injunction. The court directs the parties to confer and
                                     advise the court by letter (which should be submitted
                                     electronically) of their availability for oral argument on
                                     the following dates: January 8, 9 (afternoon only), 13, 15,
                                     16 (afternoon only), 22, 23 (afternoon only), 27, and 29,
                                     2020. The court intends to issue an order specifying the
                                     argument procedures at least 14 days before the date
                                     argument is heard. (Senior Judge Sidney A. Fitzwater)
                                     (Entered: 11/18/2019)

11/22/2019              89 (p.813)   NOTICE of Dates of Availability for Oral Argument re:
                                     88 Remark filed by George Anibowei (Tutt, Andrew)
                                     (Entered: 11/22/2019)

11/25/2019                     90    ELECTRONIC ORDER: Motion Hearing set for
                                     1/13/2020 10:00 AM in US Courthouse, Courtroom 1351,
                                     1100 Commerce St., Dallas, TX 75242-1310 before
                                     Senior Judge Sidney A Fitzwater. re: 67 (p.641) MOTION
                                     for Summary Judgment (Partial), MOTION for Injunction
                                     (Preliminary) filed by George Anibowei. (Ordered by
                                     Senior Judge Sidney A Fitzwater on 11/25/2019) (Senior
                                     Judge Sidney A Fitzwater) (Entered: 11/25/2019)

12/30/2019              91 (p.815)   ORDER re procedure for ORAL ARGUMENT. (Ordered
                                     by Senior Judge Sidney A Fitzwater on 12/30/2019)
                                     (Senior Judge Sidney A Fitzwater) (Entered: 12/30/2019)


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01/10/2020              92 (p.816)   NOTICE of ADDITIONAL AUTHORITY filed by George
                                     Anibowei (Attachments: # 1 (p.30) United States v. Cano,
                                     # 2 (p.56) United States v. Aigbekaen, # 3 (p.58) Alassad
                                     v. Nielsen) (Callahan, Sam) (Entered: 01/10/2020)

01/13/2020                     93    ELECTRONIC Minute Entry for proceedings held before
                                     Senior Judge Sidney A Fitzwater: Motion Hearing held on
                                     1/13/2020 re 67 (p.641) Motion for Summary Judgment,,
                                     Motion for Injunction, filed by George Anibowei. Oral
                                     argument heard. Taken under advisement. Written order
                                     to follow. Attorney Appearances: Plaintiff - Andrew Tutt
                                     with Stephen Wirth, Stanton Jones and Peter Steffensen;
                                     Defense - Sarah Delaney. (Court Reporter: Pamela
                                     Wilson) (No exhibits) Time in Court - :57. (chmb)
                                     (Entered: 01/13/2020)

01/14/2020              94 (p.880)   MEMORANDUM OPINION AND ORDER denying 67
                                     (p.641) MOTION for Summary Judgment (Partial), or, in
                                     the alternative, for Preliminary Injunction, filed by
                                     plaintiff George Anibowei. (Ordered by Senior Judge
                                     Sidney A Fitzwater on 1/14/2020) (Senior Judge Sidney A
                                     Fitzwater) (Entered: 01/14/2020)

01/15/2020              95 (p.889)   NOTICE OF INTERLOCUTORY APPEAL as to 94
                                     (p.880) Memorandum Opinion and Order, to the Fifth
                                     Circuit by George Anibowei. Filing fee $505, receipt
                                     number 0539-10546366. T.O. form to appellant
                                     electronically at Transcript Order Form or US Mail as
                                     appropriate. Copy of NOA to be sent US Mail to parties
                                     not electronically noticed. IMPORTANT ACTION
                                     REQUIRED: Provide an electronic copy of any exhibit
                                     you offered during a hearing or trial that was admitted
                                     into evidence to the clerk of the district court within 14
                                     days of the date of this notice. Copies must be transmitted
                                     as PDF attachments through ECF by all ECF Users or
                                     delivered to the clerk on a CD by all non-ECF Users. See
                                     detailed instructions here. (Exception: This requirement
                                     does not apply to a pro se prisoner litigant.) Please note
                                     that if original exhibits are in your possession, you must
                                     maintain them through final disposition of the case. (Tutt,
                                     Andrew) (Entered: 01/15/2020)

01/27/2020                           USCA Case Number 20-10059 in USCA5 for 95 (p.889)
                                     Notice of Appeal filed by George Anibowei. (svc)
                                     (Entered: 01/27/2020)

01/28/2020              96 (p.891)   Transcript Order Form: re 95 (p.889) Notice of Appeal,,,,
                                     transcript requested by George Anibowei for Summary
                                     judgment and preliminary injunction hearing held 1/13/20
                                     (Court Reporter: Pamela Wilson.) Payment method:
                                     Private Funds - Requester has paid or will pay as directed
                                     by the reporter. Reminder to appellant: this document
                                     must also be filed with the appeals court.. (Callahan, Sam)
                                     (Entered: 01/28/2020)


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01/28/2020              97 (p.892)   MOTION to Dismiss filed by David P Pekoske,
                                     Transportation Security Administration with
                                     Brief/Memorandum in Support. (Delaney-DOJ, Sarah)
                                     (Entered: 01/28/2020)

01/28/2020              98 (p.909)   ANSWER to 59 (p.545) Amended Complaint,,, filed by
                                     William P Barr, Kevin K McAleenan, Kirstjen M Nielsen,
                                     US Customs and Border Protection, US Department of
                                     Homeland Security, US Immigration and Customs
                                     Enforcement, Ronald D Vitiello. Unless exempted,
                                     attorneys who are not admitted to practice in the Northern
                                     District of Texas must seek admission promptly. Forms,
                                     instructions, and exemption information may be found at
                                     www.txnd.uscourts.gov, or by clicking here: Attorney
                                     Information - Bar Membership. If admission requirements
                                     are not satisfied within 21 days, the clerk will notify the
                                     presiding judge. (Delaney-DOJ, Sarah) (Entered:
                                     01/28/2020)

02/10/2020              99 (p.949)   ORDER: Proposed Scheduling Order due by 3/2/2020.
                                     (Ordered by Senior Judge Sidney A Fitzwater on
                                     2/10/2020) (Senior Judge Sidney A Fitzwater) (Entered:
                                     02/10/2020)

02/13/2020            100 (p.1169)   Notice of Filing of Official Electronic Transcript of Oral
                                     Argument Proceedings held on 1/13/2020 before Judge
                                     Sidney Fitzwater. Court Reporter/Transcriber Pamela
                                     Wilson, Telephone number 214.662.1557. Parties are
                                     notified of their duty to review the transcript. A copy may
                                     be purchased from the court reporter or viewed at the
                                     clerk's office. If the transcript contains personal identifiers
                                     that must be redacted under MO 61, Fed.R.Civ.P. 5.2 or
                                     Fed.R.Crim.P. 49.1, or if the transcript contains the name
                                     of a minor child victim or a minor child witness that must
                                     be redacted under 18 U.S.C. § 3509, file a Redaction
                                     Request - Transcript within 21 days. If no action is taken,
                                     the entire transcript will be made available through
                                     PACER without redaction after 90 calendar days. The
                                     clerk will mail a copy of this notice to parties not
                                     electronically noticed. (63 pages) Redaction Request due
                                     3/5/2020. Redacted Transcript Deadline set for 3/16/2020.
                                     Release of Transcript Restriction set for 5/13/2020. (pjw)
                                     (Entered: 02/13/2020)

02/14/2020             101 (p.950)   MOTION for Extension of Time to File Response/Reply
                                     to 97 (p.892) MOTION to Dismiss filed by George
                                     Anibowei (Attachments: # 1 (p.30) Proposed Order)
                                     (White, Graham) (Entered: 02/14/2020)

02/14/2020                    102    ELECTRONIC ORDER granting 101 (p.950) Unopposed
                                     MOTION for Extension of Time to File Response to 97
                                     (p.892) MOTION to Dismiss filed by George Anibowei.
                                     Response due by 3/18/2020. (Ordered by Senior Judge
                                     Sidney A Fitzwater on 2/14/2020) (Senior Judge Sidney A


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                                     Fitzwater) (Entered: 02/14/2020)

03/02/2020             103 (p.956)   RESPONSE filed by George Anibowei re: 99 (p.949)
                                     Order Setting Deadline/Hearing (Tutt, Andrew) (Entered:
                                     03/02/2020)

03/05/2020             105 (p.965)   ORDER Administratively Closing Case. This case is
                                     stayed until the United States Court of Appeals for the
                                     Fifth Circuit issues its mandate in Appeal No. 20-10059.
                                     The clerk of court is directed to close this case for
                                     statistical purposes. Defendants' January 28, 2020 motion
                                     to dismiss plaintiff's second amended complaint is
                                     statistically closed, subject to being reopened and decided
                                     after the stay is lifted. (Ordered by Senior Judge Sidney A
                                     Fitzwater on 3/5/2020) (Senior Judge Sidney A Fitzwater)
                                     (Entered: 03/05/2020)

03/06/2020                           Record on Appeal for USCA5 20-10059 (related to 95
                                     (p.889) appeal): Record consisting of: 3 ECF electronic
                                     record on appeal (eROA) is certified, 1 Volume(s)
                                     electronic transcript,.
                                     PLEASE NOTE THE FOLLOWING: Licensed
                                     attorneys must have filed an appearance in the USCA5
                                     case and be registered for electronic filing in the USCA5
                                     to access the paginated eROA in the USCA5 ECF system.
                                     (Take these steps immediately if you have not already
                                     done so. Once you have filed the notice of appearance
                                     and/or USCA5 ECF registration, it may take up to 3
                                     business days for the circuit to notify the district clerk that
                                     we may grant you access to the eROA in the USCA5 ECF
                                     system.) To access the paginated record, log in to the
                                     USCA5 ECF system, and under the Utilities menu, select
                                     Electronic Record on Appeal. Pro se litigants may request
                                     a copy of the record by contacting the appeals deputy in
                                     advance to arrange delivery. (svc) (Entered: 03/06/2020)

05/27/2022             106 (p.966)   NOTICE of Peter Steffensen to be removed as counsel
                                     filed by George Anibowei (Marziani, Mimi) (Entered:
                                     05/27/2022)

08/11/2023             107 (p.967)   Opinion of USCA in accordance with USCA judgment re
                                     95 (p.889) Notice of Appeal filed by George Anibowei.
                                     (svc) (Entered: 08/11/2023)

08/11/2023             108 (p.980)   JUDGMENT/MANDATE of USCA as to 95 (p.889)
                                     Notice of Appeal filed by George Anibowei. IT IS
                                     ORDERED and ADJUDGED that the judgment of the
                                     District Court is AFFIRMED. Issued as Mandate:
                                     8/11/2023. (svc) (Entered: 08/11/2023)

02/02/2024             109 (p.982)   NOTICE of Attorney Appearance by Travis Walker Fife
                                     on behalf of George Anibowei. (Filer confirms contact
                                     info in ECF is current.) (Fife, Travis) (Entered:
                                     02/02/2024)



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02/05/2024             110 (p.983)   Application for Admission Pro Hac Vice with Certificate
                                     of Good Standing (Filing fee $100; Receipt number
                                     ATXNDC-14367017) filed by George Anibowei Attorney
                                     Kassandra Gonzalez added to party George
                                     Anibowei(pty:pla) (Gonzalez, Kassandra) (Entered:
                                     02/05/2024)

02/05/2024                    111    ELECTRONIC ORDER granting 110 (p.983) Application
                                     for Admission Pro Hac Vice of Kassandra Gonzalez.
                                     Important Reminder: Unless excused for cause, an
                                     attorney who is not an ECF user must register within 14
                                     days of the date the attorney appears in a case pursuant to
                                     LR 5.1(f) and LCrR 49.2(g). The court does not suggest
                                     that the designated local counsel qualifies under LR
                                     83.10(a) because, under that Rule, local counsel must
                                     reside or maintain the attorney's principal office in this
                                     district, and the attorney's residence or principal office
                                     must be located within 50 miles of the courthouse in the
                                     division in which the case is pending. (Ordered by Senior
                                     Judge Sidney A Fitzwater on 2/5/2024) (Senior Judge
                                     Sidney A Fitzwater) (Entered: 02/05/2024)

05/13/2024             112 (p.987)   MOTION to Withdraw as Attorney J. Born, S. Callahan,
                                     and G. White filed by George Anibowei (Attachments: # 1
                                     (p.30) Proposed Order) (Born, Jayce) (Entered:
                                     05/13/2024)

05/13/2024             113 (p.991)   ORDER granting 112 (p.987) Motion to Withdraw as
                                     Attorney. Attorney Graham White; Jayce Lane Born and
                                     Sam Callahan terminated. (Ordered by Senior Judge
                                     Sidney A Fitzwater on 5/13/2024) (cfk) (Entered:
                                     05/13/2024)

05/24/2024             114 (p.992)   NOTICE of Attorney Appearance by Dustin Rynders on
                                     behalf of George Anibowei. (Filer confirms contact info
                                     in ECF is current.) (Rynders, Dustin) (Entered:
                                     05/24/2024)

05/24/2024             115 (p.993)   Unopposed MOTION to Withdraw Hani Mirza and Mimi
                                     Marziani as Counsel of Record filed by George Anibowei
                                     (Attachments: # 1 (p.30) Proposed Order) (Gonzalez,
                                     Kassandra) (Entered: 05/24/2024)

05/24/2024             116 (p.997)   ORDER granting 115 (p.993) Unopposed MOTION to
                                     Withdraw Hani Mirza and Mimi Marziani as Counsel of
                                     Record (Ordered by Senior Judge Sidney A Fitzwater on
                                     5/24/2024) (chmb) (Entered: 05/24/2024)

05/28/2024             117 (p.998)   ORDER: No later than 6/18/2024, the parties must file a
                                     joint status report that summarizes the current status of
                                     this case and states the parties' positions on whether the
                                     case should be reopened statistically and the court should
                                     request the parties' proposals for entry of a new
                                     scheduling order. The report may include any other
                                     matters that the parties wish to bring to the court's

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                                     attention. (Ordered by Senior Judge Sidney A Fitzwater
                                     on 5/28/2024) (ndt) (Entered: 05/28/2024)

06/17/2024             118 (p.999)   MOTION (Motion and Stipulation of Voluntary Dismissal
                                     of Counts I-V, VII of Plaintiff's Verified Second
                                     Amended Complaint) filed by George Anibowei
                                     (Attachments: # 1 (p.30) Proposed Order) (Gonzalez,
                                     Kassandra) (Entered: 06/17/2024)

06/17/2024            119 (p.1003)   MOTION (Joint Status Report and Motion to Lift the
                                     Stay) filed by George Anibowei (Attachments: # 1 (p.30)
                                     Proposed Order) (Gonzalez, Kassandra) (Entered:
                                     06/17/2024)

06/17/2024            120 (p.1007)   Proposed Briefing Schedule filed by George Anibowei
                                     (Attachments: # 1 (p.30) Proposed Order) (Gonzalez,
                                     Kassandra) Modified text and terminated motion on
                                     6/18/2024 (ali). (Entered: 06/17/2024)

06/18/2024            121 (p.1011)   ORDER granting 119 (p.1003) Motion to Lift the Stay.
                                     (Ordered by Senior Judge Sidney A Fitzwater on
                                     6/18/2024) (cfk) (Entered: 06/18/2024)

06/18/2024            122 (p.1012)   ORDER granting 118 (p.999) Motion and Stipulation of
                                     Voluntary Dismissal of Counts I-V, VII of Plaintiff's
                                     Verified Second Amended Complaint. (Ordered by Senior
                                     Judge Sidney A Fitzwater on 6/18/2024) (cfk) (Entered:
                                     06/18/2024)

06/21/2024            123 (p.1013)   BRIEFING ORDER: Defendants must file a motion,
                                     including a motion to dismiss or for summary judgment,
                                     no later than 8/2/2024. Plaintiff must file a response to a
                                     motion no later than 9/3/2024. Defendants must file any
                                     reply to a response no later than 9/24/2024. (Ordered by
                                     Senior Judge Sidney A Fitzwater on 6/21/2024) (ndt)
                                     (Entered: 06/27/2024)

08/02/2024            124 (p.1014)   MOTION to Dismiss Remaining Claim of Second
                                     Amended Complaint filed by William P Barr, Kevin K
                                     McAleenan, Kirstjen M Nielsen, US Customs and Border
                                     Protection, US Department of Homeland Security, US
                                     Immigration and Customs Enforcement, Ronald D
                                     Vitiello with Brief/Memorandum in Support.
                                     (Delaney-DOJ, Sarah) (Entered: 08/02/2024)

08/02/2024            125 (p.1047)   Appendix in Support re 124 (p.1014) MOTION to
                                     Dismiss Remaining Claim of Second Amended Complaint
                                     filed by William P Barr, Kevin K McAleenan, Kirstjen M
                                     Nielsen, US Customs and Border Protection, US
                                     Department of Homeland Security, US Immigration and
                                     Customs Enforcement, Ronald D Vitiello (Delaney-DOJ,
                                     Sarah) (Entered: 08/02/2024)

08/30/2024                    126    ADVISORY TO COUNSEL: Counsel are requested to
                                     confer and advise the court by letter of their availability to
                                     present oral argument on the 124 (p.1014) MOTION to

                                                                                                      24-11042.26
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                                     Dismiss Remaining Claim of Second Amended Complaint
                                     filed by William P Barr, Kevin K McAleenan, Kirstjen M
                                     Nielsen, US Customs and Border Protection, US
                                     Department of Homeland Security, US Immigration and
                                     Customs Enforcement, Ronald D Vitiello during the
                                     afternoon of any of the following dates: October 8, 10, 15,
                                     17, 22, 24, 29, and 31, 2024. The letter can be submitted
                                     electronically to Fitzwater_Orders@txnd.uscourts.gov.
                                     The court will later enter an order regarding the specific
                                     date and time, procedures, and time limits for argument.
                                     (Senior Judge Sidney A. Fitzwater) (Entered: 08/30/2024)

09/03/2024            127 (p.1084)   RESPONSE filed by George Anibowei re: 124 (p.1014)
                                     MOTION to Dismiss Remaining Claim of Second
                                     Amended Complaint (Attachments: # 1 (p.30) Proposed
                                     Order) (Gonzalez, Kassandra) (Entered: 09/03/2024)

09/05/2024            128 (p.1110)   ORDER: Motion Hearing set for 10/22/2024 04:00 PM in
                                     US Courthouse, Courtroom 1351, 1100 Commerce St.,
                                     Dallas, TX 75242-1310 before Senior Judge Sidney A
                                     Fitzwater re: 124 (p.1014) MOTION to Dismiss
                                     Remaining Claim of Second Amended Complaint filed by
                                     William P Barr, Kevin K McAleenan, Kirstjen M Nielsen,
                                     US Customs and Border Protection, US Department of
                                     Homeland Security, US Immigration and Customs
                                     Enforcement, Ronald D Vitiello. (Ordered by Senior
                                     Judge Sidney A Fitzwater on 9/5/2024) (Senior Judge
                                     Sidney A Fitzwater) (Entered: 09/05/2024)

09/24/2024            129 (p.1111)   REPLY filed by William P Barr, Kevin K McAleenan,
                                     Kirstjen M Nielsen, US Customs and Border Protection,
                                     US Department of Homeland Security, US Immigration
                                     and Customs Enforcement, Ronald D Vitiello re: 124
                                     (p.1014) MOTION to Dismiss Remaining Claim of
                                     Second Amended Complaint (Delaney-DOJ, Sarah)
                                     (Entered: 09/24/2024)

09/26/2024            130 (p.1123)   Application for Admission Pro Hac Vice with Certificate
                                     of Good Standing (Filing fee $100; Receipt number
                                     ATXNDC-14949286) filed by George Anibowei
                                     (Attachments: # 1 (p.30) Certificate of Good Standing, # 2
                                     (p.56) Proposed Order)Attorney Jillian M. Williams
                                     added to party George Anibowei(pty:pla) (Williams,
                                     Jillian) (Entered: 09/26/2024)

09/26/2024                    131    ELECTRONIC ORDER granting 130 (p.1123)
                                     Application for Admission Pro Hac Vice of Jillian M.
                                     Williams. Important Reminder: Unless excused for cause,
                                     an attorney who is not an ECF user must register within
                                     14 days of the date the attorney appears in a case pursuant
                                     to LR 5.1(f) and LCrR 49.2(g). (Ordered by Senior Judge
                                     Sidney A Fitzwater on 9/26/2024) (Senior Judge Sidney A
                                     Fitzwater) (Entered: 09/26/2024)

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                                     ELECTRONIC Minute Entry for proceedings held before
                                     Senior Judge Sidney A Fitzwater: Motion Hearing held on
                                     10/22/2024 re: 124 (p.1014) MOTION to Dismiss
                                     Remaining Claim of Second Amended Complaint filed by
                                     US Immigration and Customs Enforcement, Kirstjen M
                                     Nielsen, US Department of Homeland Security, Ronald D
                                     Vitiello, US Customs and Border Protection, William P
                                     Barr, Kevin K McAleenan. Oral Argument heard. Taken
                                     under advisement. Written order to follow. Attorney
                                     Appearances: Plaintiff - Kassandra Gonzalez with Jillian
                                     Williams; Defense - Sarah Delaney. (Court Reporter:
                                     Pamela Wilson) (No exhibits) Time in Court - :30. (chmb)
                                     Modified on 10/24/2024 (chmb). (Entered: 10/22/2024)

10/30/2024            133 (p.1233)   Notice of Filing of Official Electronic Transcript of
                                     Motion Hearing Proceedings held on 10/22/2024 before
                                     Judge Sidney Fitzwater. Court Reporter/Transcriber
                                     Pamela Wilson, Telephone number 214.662.1557. Parties
                                     are notified of their duty to review the transcript. A copy
                                     may be purchased from the court reporter or viewed at the
                                     clerk's office. If the transcript contains personal identifiers
                                     that must be redacted under MO 61, Fed.R.Civ.P. 5.2 or
                                     Fed.R.Crim.P. 49.1, or if the transcript contains the name
                                     of a minor child victim or a minor child witness that must
                                     be redacted under 18 U.S.C. § 3509, file a Redaction
                                     Request - Transcript within 21 days. If no action is taken,
                                     the entire transcript will be made available through
                                     PACER without redaction after 90 calendar days. The
                                     clerk will mail a copy of this notice to parties not
                                     electronically noticed. (25 pages) Redaction Request due
                                     11/20/2024. Redacted Transcript Deadline set for
                                     12/2/2024. Release of Transcript Restriction set for
                                     1/28/2025. (pjw) (Entered: 10/30/2024)

11/22/2024            134 (p.1128)   MEMORANDUM OPINION AND ORDER granting 124
                                     (p.1014) Motion to Dismiss. (Ordered by Senior Judge
                                     Sidney A Fitzwater on 11/22/2024) (cfk) (Entered:
                                     11/25/2024)

11/22/2024            135 (p.1146)   JUDGMENT: For the reasons set out in a memorandum
                                     opinion and order filed today, it is ordered and adjudged
                                     that plaintiff's action against defendants is dismissed
                                     without prejudice. Defendants' taxable costs of court, as
                                     calculated by the clerk of court, are assessed against
                                     plaintiff. (Ordered by Senior Judge Sidney A Fitzwater on
                                     11/22/2024) (cfk) (Entered: 11/25/2024)

11/26/2024            136 (p.1147)   NOTICE OF APPEAL as to 135 (p.1146) Judgment, 134
                                     (p.1128) Memorandum Opinion and Order to the Fifth
                                     Circuit by George Anibowei. Filing fee $605, receipt
                                     number ATXNDC-15091041. T.O. form to appellant
                                     electronically at Transcript Order Form or US Mail as
                                     appropriate. Copy of NOA to be sent US Mail to parties
                                     not electronically noticed. IMPORTANT ACTION


                                                                                                       24-11042.28
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                                 REQUIRED: Provide an electronic copy of any exhibit
                                 you offered during a hearing or trial that was admitted
                                 into evidence to the clerk of the district court within 14
                                 days of the date of this notice. Copies must be transmitted
                                 as PDF attachments through ECF by all ECF Users or
                                 delivered to the clerk on a CD by all non-ECF Users. See
                                 detailed instructions here. (Exception: This requirement
                                 does not apply to a pro se prisoner litigant.) Please note
                                 that if original exhibits are in your possession, you must
                                 maintain them through final disposition of the case.
                                 (Attachments: # 1 (p.30) Exhibit(s) Judgment, # 2 (p.56)
                                 Exhibit(s) Memorandum Opinion and Order) (Tutt,
                                 Andrew) (Entered: 11/26/2024)

12/09/2024                       USCA Case Number 24-11042 in USCA5 for 136
                                 (p.1147) Notice of Appeal filed by George Anibowei.
                                 (axm) (Entered: 12/09/2024)




                                                                                               24-11042.29
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            TAB 2
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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                                 DALLAS DIVISION

 GEORGE ANIBOWEI,

                        Plaintiff,

                  v.                                            Case No. 3:16-cv-03495-D
 ALEJANDRO MAYORKAS, SECRETARY, U.S.
 DEPARTMENT OF HOMELAND SECURITY, et al.,

                        Defendants.



                                      NOTICE OF APPEAL

        Pursuant to Fed. R. App. P. 3(c)(1) and 4(a), notice is hereby given that Plaintiff George

Anibowei in the above-named case appeals to the United States Court of Appeals for the Fifth

Circuit. Plaintiff appeals the order (Dkt. 134, entered November 22, 2024) and accompanying final

judgment (Dkt. 135, entered November 22, 2024) and all underlying findings, determinations,

rulings, opinions, and orders entered in the case that were adverse, either in whole or in part, to

Plaintiff.
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Dated: November 26, 2024             Respectfully submitted,

                                     ARNOLD & PORTER
                                      KAYE SCHOLER LLP

                                  By: /s/ Andrew Tutt
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                                     Counsel for Plaintiff
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                                  CERTIFICATE OF SERVICE

        I hereby certify that this document filed through the ECF system will be sent electronically
to the registered participants as identified on the Notice of Electronic Filing (NEF) and paper
copies will be sent to those indicated as non-registered participants on the date of electronic filing.

                                               /s/ Andrew Tutt
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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF TEXAS
                                   DALLAS DIVISION

GEORGE ANIBOWEI,                                 §
                                                 §
                       Plaintiff,                §
                                                 §
VS.                                              §     Civil Action No. 3:16-CV-3495-D
                                                 §
ALEJANDRO MAYORKAS, et al.,                      §
                                                 §
                       Defendants.               §

                                           JUDGMENT

        For the reasons set out in a memorandum opinion and order filed today, it is ordered and

adjudged that plaintiffs action against defendants is dismissed without prejudice.

        Defendants taxable costs of court, as calculated by the clerk of court, are assessed against

plaintiff.

        Done at Dallas, Texas November 22, 2024.



                                              _________________________________
                                              SIDNEY A. FITZWATER
                                              SENIOR JUDGE
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            TAB 4
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                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF TEXAS
                               DALLAS DIVISION

GEORGE ANIBOWEI,                             §
                                             §
                     Plaintiff,              §
                                             §
VS.                                          §      Civil Action No. 3:16-CV-3495-D
                                             §
ALEJANDRO MAYORKAS, et al.,                  §
                                             §
                     Defendants.             §

                                  MEMORANDUM OPINION
                                      AND ORDER

       Defendantsincluding U.S. Department of Homeland Security (DHS), U.S.

Customs and Border Protection (CBP), and U.S. Immigration and Customs Enforcement

(ICE) (collectively, defendants)1move to dismiss Count VI of plaintiff George

Aniboweis (Aniboweis) second amended complaint: the remaining claim that Anibowei

brings under the Administrative Procedure Act (APA), 5 U.S.C. § 706(2)(A)-(B), seeking

vacatur of three directives promulgated by CBP and ICE, and declaratory and injunctive

relief against the departments and agencies and the individual department and agency heads

in their official capacity.2 Defendants move to dismiss Count VI for lack of subject matter


       1
        The other defendants are: Secretary of Homeland Security Alejandro Mayorkas, in
his official capacity; Troy A. Miller, Senior Official Performing the Duties of the
Commissioner for CBP, in his official capacity; Patrick J. Lechleitner, Deputy Director and
Senior Official Performing the Duties of the Director for ICE, in his official capacity; and
Attorney General Merrick Garland, in his official capacity
       2
        Anibowei initially brought seven claims for relief, including under the First and
Fourth Amendments, but he voluntarily dismissed with prejudice all claims other than count
VI, his APA claim, on June 17, 2024.
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jurisdiction and failure to state a claim on which relief can be granted. It appears that

Anibowei is essentially conceding that he will lose if this court reaches the merits, but he is

attempting to avoid dismissal for lack of jurisdiction so that the merits will be at issue on

appeal. For the reasons that follow, the court grants defendants motion and dismisses Count

VI of Aniboweis second amended complaint for lack of subject matter jurisdiction.

Alternatively, the court dismisses Count VI for failure to state a claim on which relief can

be granted.

                                               I

       Anibowei, a lawyer, is a naturalized U.S. citizen who was born in Nigeria. He owns

a small law practice where he primarily handles immigration matters. Anibowei travels

several times a year, often internationally, for both work and personal reasons. In October

2016 CBP officers at the Dallas-Fort Worth International Airport seized Aniboweis work

cell phone, without his consent or a search warrant, and advised Anibowei that they were

going to copy the hard drive. When Anibowei protested, the officers gave him a flyer

explaining their legal authority to search and seize his phone under CBP Directive No. 3349-

049, Border Search of Electronic Devices Containing Information (Aug. 20, 2009) (2009

CBP Directive). Aniboweis work cell phone contains sensitive information about his

clients and their cases, including call logs, voice mails, text messages, and an archive of

Aniboweis work emails with drafts of confidential filings and other information involving




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removal proceedings adverse to DHS.3

       At the time of filing his second amended complaint, CBP agents had searched

Aniboweis phone at least four additional times.          He intends to continue traveling

internationally, but he now does so without his work phone because of the risk of further

invasions of his and his clients privacy. He continues to carry his personal phone when he

travels, which also has access to his work email.

       Anibowei seeks vacatur of three directives: the 2009 CBP Directive, CBP Directive

No. 3340-049A, Border Search of Electronic Devices (Jan. 4, 2018) (2018 CBP Directive),

and ICE Directive 7-6.1, Border Searches of Electronic Devices (Aug. 18, 2009) (2009 ICE

Directive) (collectively, Directives). He also seeks a declaration that defendants policies

and practices violate the First and Fourth Amendments by authorizing searches of electronic

devices absent a warrant supported by probable cause; a declaration that they violated his

First and Fourth Amendment rights by searching his devices absent a warrant supported by

probable cause; an injunction ordering defendants to expunge information gathered from or

copies made of the contents of his devices; an injunction against enforcement of the agency

policies against himself and across the board; and reasonable attorneys fees and costs and

other such relief that the court deems proper.

       The court has heard oral argument.




       3
           CBP is a component of DHS.

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                                              II

       Federal courts are courts of limited jurisdiction, and absent jurisdiction conferred by

statute, lack the power to adjudicate claims. Stockman v. Fed. Election Commn, 138 F.3d

144, 151 (5th Cir. 1998). When challenging subject matter jurisdiction under Fed. R. Civ.

P. 12(b)(1), a party can make a facial attack or a factual attack. See Paterson v. Weinberger,

644 F.2d 521, 523 (5th Cir. May 1981). If, as here, the party merely files a Rule 12(b)(1)

motion, the attack is considered facial, and the court looks only at the sufficiency of the

allegations in the complaint and assumes them to be true. Id. If the allegations are sufficient

to allege jurisdiction, the court must deny the motion. Id. This is akin to a Rule 12(b)(6)

motion in that the pleadings allegations are presumed to be true, and [i]f those allegations

sufficiently allege a claim for recovery the complaint stands and the federal court must

entertain the suit. Vinmar Overseas, Ltd. v. OceanConnect, LLC, 2012 WL 3599486, at

*4 (S.D. Tex. Aug. 20, 2012) (Rosenthal, J.) (alteration in original) (quoting Jones v.

SuperMedia Inc., 281 F.R.D. 282, 286 (N.D. Tex. 2012) (Boyle, J.)). The burden of proof

for a Rule 12(b)(1) motion to dismiss is on the party asserting jurisdiction. Accordingly, the

plaintiff constantly bears the burden of proof that jurisdiction does in fact exist. Ramming

v. United States, 281 F.3d 158, 161 (5th Cir. 2001) (per curiam) (citations omitted).

       In deciding a Rule 12(b)(6) motion to dismiss, the court evaluates the sufficiency of

plaintiffs . . . complaint by accepting all well-pleaded facts as true, viewing them in the

light most favorable to the plaintiff. Bramlett v. Med. Protective Co. of Fort Wayne, Ind.,

855 F.Supp.2d 615, 618 (N.D. Tex. 2012) (Fitzwater, C.J.) (internal quotation marks and

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alteration omitted) (quoting In re Katrina Canal Breaches Litig., 495 F.3d 191, 205 (5th Cir.

2007)). To survive defendants motion, plaintiff must plead enough facts to state a claim

to relief that is plausible on its face. Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570 (2007).

A claim has facial plausibility when the plaintiff pleads factual content that allows the court

to draw the reasonable inference that the defendant is liable for the misconduct alleged.

Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009). The plausibility standard is not akin to a

probability requirement, but it asks for more than a sheer possibility that a defendant has

acted unlawfully. Id.; see also Twombly, 550 U.S. at 555 (Factual allegations must be

enough to raise a right to relief above the speculative level[.]). [W]here the well-pleaded

facts do not permit the court to infer more than the mere possibility of misconduct, the

complaint has allegedbut it has not shownthat the pleader is entitled to relief. Iqbal,

556 U.S. at 679 (quoting Rule 8(a)(2)) (alteration omitted). Threadbare recitals of the

elements of a cause of action, supported by mere conclusory statements, do not suffice. Id.

at 678 (citation omitted).

                                              III

       The court begins with defendants assertion under Rule 12(b)(1) that this court does

not have subject matter jurisdiction over Aniboweis APA claim. Defendants contend that

the court lacks jurisdiction because: (1) Aniboweis challenges to the Directives are moot;

(2) his alleged injuries would not be redressed by his requested relief; (3) the Directives do

not constitute final agency actions such that there is jurisdiction under the APA; and (4)

Anibowei has an adequate alternative remedy to APA judicial relief, meaning there is no

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jurisdiction under the APA.

                                              A

       The court turns first to defendants contention that Aniboweis claim is moot with

respect to the 2009 CBP Directive and the 2009 ICE Directive because each has been

superseded.4

                                               1

       Article III of the Constitution limits federal judicial power to cases and controversies.

United States Parole Commn v. Geraghty, 445 U.S. 388, 395 (1980). A case becomes moot

when the issues presented are no longer live or the parties lack a legally cognizable

interest in the outcome, id. at 396 (quoting Powell v. McCormack, 395 U.S. 486, 496

(1969)), or [i]f a dispute has been resolved or if it has evanesced because of changed

circumstances, including the passage of time, Am. Med. Assn v. Bowen, 857 F.2d 267, 270

(5th Cir. 1988). A claim against an agency regulation or other directive may become moot

if the agency repeals the offending pronouncement. Spell v. Edwards, 962 F.3d 175, 179 (5th

Cir. 2020). If an agency repeals a challenged directive but then replaces it with a

substantially similar one, there is no mootness because the injury remains. Franciscan All.,

Inc. v. Becerra, 47 F.4th 368, 374 (5th Cir. 2022). The issue is whether the court can still

order effectual relief . . . to the prevailing party. Knox v. Serv. Emps. Intl Union, Local

1000, 567 U.S. 298, 307 (2012) (citation and internal quotation marks omitted).


       4
      Anibowei does not contest defendants assertion that the claim for vacatur of the
2009 CBP Directive is moot because it has been superseded by the 2018 CBP Directive.

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                                             2

       The parties do not dispute that the 2018 CBP Directive remains in effect.

Additionally, the 2009 ICE Directive remains in effect except to the extent that it has been

superseded by supplemental ICE guidance, see Ds. App. (ECF No. 125) at 33-34. The

section Anibowei challengeswhich allows searches and seizures of electronic devices

without a warrant and probable causeis modified by ICE Supplemental Guidance, Legal

Update - Border Search of Electronic Devices (May 11, 2018) (2018 ICE Guidance). Ds.

App. (ECF No. 125) at 33-34. The 2018 ICE Guidance replaces the policy in the 2009 ICE

Directive allowing searches and seizures of electronic devices with or without individualized

suspicion, see Ds. App. (ECF No. 125) at 24, with the requirement that agents should no

longer perform advanced border searches of electronic devices without reasonable

suspicion, id. at 33-34. Because Anibowei challenges the policy allowing searches and

seizures of devices without a warrant or probable cause, and both the original and updated

versions of the policy allow for such searches and seizures, the challenge is not moot to the

extent that the original policy has been replaced with a substantially similar one. See

Franciscan All., Inc., 47 F.4th at 374. Therefore, Count VI of Aniboweis second amended

complaint should not be dismissed based on mootness.

                                             B

       The court turns next to defendants assertion that Anibowei lacks standing because

his alleged injuries would not be redressed by vacatur of the Directives.



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                                               1

       [T]he requirement that a claimant have standing is an essential and unchanging part

of the case-or-controversy requirement of Article III. Davis v. Fed. Election Commn, 554

U.S. 724, 733 (2008) (quoting Lujan v. Defs. of Wildlife, 504 U.S. 555, 560 (1992)). [T]he

irreducible constitutional minimum of standing contains three elements. Lujan, 504 U.S.

at 560. These elements are (1) an injury-in-fact that is concrete and actual or imminent, not

hypothetical; (2) a fairly traceable causal link between the injury and the defendants actions;

and (3) that the injury will likely be redressed by a favorable decision. See, e.g., Bennett v.

Spear, 520 U.S. 154, 167 (1997); Little v. KPMG LLP, 575 F.3d 533, 540 (5th Cir. 2009).

       Defendants maintain that Aniboweis alleged injury is not redressable via the

requested remedies because, even if the Directives are vacated, government agents still retain

the power to search electronic devices at the border without a warrant because the Directives

are not the source of that authority. Rather, defendants contend, it is the plenary authority

of the Federal Government to conduct searches and inspections at the border that authorizes

these searches. Ds. Br. (ECF No. 124) at 13.

       To satisfy the redressability prong of standing, the plaintiff must show a substantial

likelihood that the relief requested will redress the injury. Vt. Agency of Nat. Res. v. United

States ex rel. Stevens, 529 U.S. 765, 771 (2000) (internal quotation marks and citation

omitted). A plaintiff must demonstrate redressability for each form of relief sought. Friends

of the Earth, Inc. v. Laidlaw Envt. Servs. (TOC), Inc., 528 U.S. 167, 185 (2000). The

plaintiff need not show that a favorable decision will relieve . . . every injury. Larson v.

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Valente, 456 U.S. 228, 243 n.15 (1982). Instead, a substantial likelihood that the requested

relief will redress the alleged injury is enough. Duke Power Co. v. Caroline Envt Study

Grp., Inc., 438 U.S. 59, 79 (1978); see also Sanchez v. R.G.L., 761 F.3d 495, 506 (5th Cir.

2014) (holding that a plaintiff need only show that a favorable ruling could potentially

lessen its injury).

       This court frequently holds that the redressability prong is met when plaintiffs plead

that agency policies are contrary to law and that their harms could be redressed by setting

aside harmful guidance documents. See, e.g., Natl Fedn of Indep. Bus. v. Dougherty, 2017

WL 1194666, at *6 (N.D. Tex. Feb. 3, 2017) (Fitzwater, J.); see also Texas v. Cardona, 2024

WL 3658767, at *18 (N.D. Tex. Aug. 5, 2024) (OConnor, J.) (holding that, even if

defendants could enforce policies without the challenged guidance documents, a declaration

that the guidance documents interpretation was unlawful and an injunction restraining

reliance on that interpretation would reduce the alleged harm).

                                              2

       Here, Anibowei pleads three redressable injuries: (1) he is forced to take

precautionary measures to avoid unconstitutional border searches, such as leaving his work

phone at home when he travels; (2) he is under threat that he will be subject to

unconstitutional border searches in the future; and (3) he suffers an ongoing injury from the

governments continued retention of the data it downloaded from his cell phone in 2016.

Anibowei alleges that the requested relief of vacatur of the policies would lessen his injury

by allowing him once again to carry his work phone when he travels, enabling him to travel

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without the threat of delay or embarrassment from unconstitutional searches, and by

increasing the likelihood that the data collected from his phone would be expunged based on

the recognition that the data were unlawfully obtained. Because Anibowei plausibly alleges

that his injuries would likely be lessened by his requested remedies, he has adequately

pleaded a redressable injury.

                                                C

       The court now considers defendants contention that the Directives are not reviewable

under the APA because they are not final agency actions.

                                                1

       The APA allows for judicial review only of a final agency action[.] Texas v.

Equal Emp. Opportunity Commn, 933 F.3d 433, 441 (5th Cir. 2019) (citing 5 U.S.C. § 704)

(EEOC). Two conditions must be satisfied for an agency action to be final: (1) the action

must mark the consummation of the agencys decisionmaking process, and (2) the action

must be one by which rights or obligations have been determined, or from which legal

consequences will flow. Bennett, 520 U.S. at 177-78 (citations omitted). Courts

consistently hold that an agencys guidance documents binding it and its staff to a legal

position produce legal consequences or determine rights and obligations, thus meeting the

second prong of Bennett. EEOC, 933 F.3d at 441. The primary distinction between a

substantive rulewhich is, by definition, a final agency actionand a general statement

of policy . . . turns on whether an agency intends to bind itself to a particular legal position.

Id. (quoting Syncor Intl Corp. v. Shalala, 127 F.3d 90, 94 (D.C. Cir. 1997)). An action may

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be binding on an agency itself if it either appears on its face to be binding[] or is applied by

the agency in a way that indicates it is binding[,] id. (alteration in original) (citation

omitted), and, in some cases, the mandatory language of a document alone can be sufficient

to render it binding, id. at 422 (quoting Gen. Elec. Co. v. Envt Prot. Agency, 290 F.3d 377,

383 (D.C. Cir. 2002)). Mandatory language is not strictly required, howeverthe Supreme

Court takes a pragmatic approach. Id. at 441 (citation and internal quotation marks

omitted). [I]f a statement denies the [agency] discretion in the area of its coverage[,] then

the statement is binding, and creates rights or obligations. Id. at 442 (alterations in original)

(quoting Gen. Elec. Co., 290 F.3d at 382).

                                                2

       Mandatory language and a pragmatic view of the Directives together indicate that

these directives are final agency actions and are binding on their issuing agencies. The 2018

CBP Directive states that it exists [t]o provide guidance and standard operating procedures

for searching, reviewing, retaining, and sharing information contained in computers . . .

mobile phones . . . and any other communication, electronic, or digital devices subject to .

. . border searches by [CBP]. Ds. App. (ECF No. 125) at 11. This directive contains

binding mandatory language, stating that [a]ll CBP Officers, Border Patrol Agents, . . . and

other officials authorized by CBP to perform border searches shall adhere to the policy

described in this Directive and any implementing policy memoranda[.] Id. (emphasis

added). The directive binds itself to its procedures, as is made clear by the statement in the

directive that [t]his directive governs border searches of electronic devices[.] Id. at 12

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(emphasis added).

       The 2009 ICE Directive similarly states that it provides legal guidance and

establishes policy and procedures within [ICE] with regard to border search authority[,] Ds.

App. (ECF No. 125) at 23, and it states that Special Agents are responsible for complying

with the provisions of this Directive[,] id. at 25. The language in these directives indicates

that they are intended to be binding on the agencies themselves and their agents and officers

in executing border searches of electronic devices.

       Defendants point out that the Directives include disclaimers explicitly stating that they

do not create any rights or privileges. See id. at 22, 32. But when the Directives are assessed

pragmatically, it does not appear that these boilerplate statements outweigh the balance of

the Directives language, which is clearly binding on the agency itself and those acting under

its authority. By binding the agencies and their agents and officers to the interpretation of

what is required for different types of searches of electronic devices at the border, these

directives impact the privacy rights and privileges of individuals at the border who are

subject to searches carried out under the authority and instruction of these directives.

                                              D

       Finally, the court considers whether the Directives are not reviewable under the APA

on the ground that Anibowei has an adequate alternative remedy in a court for his alleged

injuries.

                                               1

       The APA grants federal courts jurisdiction over final agency action for which there

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is no other adequate remedy in a court[.] 5 U.S.C. § 704 (emphasis added). See also Fort

Bend Cnty. v. U.S. Army Corps of Engrs, 59 F.4th 180, 192 (5th Cir. 2023) (characterizing

the adequate remedy requirement as jurisdictional). The adequacy of the relief available

need not provide an identical review that the APA would provide, so long as the alternative

remedy offers the same genre of relief. Hinojosa v. Horn, 896 F.3d 305, 310 (5th Cir.

2018) (per curiam) (citation omitted). The requirement that there be no adequate alternative

remedy entails a case-specific evaluation. Id. [A] legal remedy is not inadequate for

purposes of the APA because it is procedurally inconvenient for a given plaintiff, or because

plaintiffs have inadvertently deprived themselves of the opportunity to pursue that remedy.

Martinez v. Pompeo, 977 F.3d 457, 460 (5th Cir. 2020) (per curiam) (citation omitted).

                                              2

       The court holds that Anibowei has an adequate alternative remedy to his APA

challenge because he could allege in a courtindeed, in this court and lawsuitthe

constitutional claims that he has already brought but has voluntarily dismissed. Insofar as

Anibowei seeks vacatur of the Directives to prevent being subject to warrantless searches of

his electronic devices at the border, an injunction against enforcement of those policies

pursuant to a constitutional challenge would similarly prevent his being subjected to such

searches in the future. Therefore, bringing a constitutional challenge and seeking injunctive

relied would, if successful on the merits, provide the same genre of relief as vacatur of the

Directives pursuant to the APA. See Hinojosa, 896 F.3d at 310. The fact that Anibowei has

raised and then voluntarily dismissed these claims does not make this remedy inadequate.

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See Martinez, 997 F.3d at 460.

                                              E

       Because Anibowei has an adequate alternative remedy, his APA claim is not fit for

judicial review. The court lacks subject matter jurisdiction over this claim and therefore

grants defendants motion to dismiss under Rule 12(b)(1).

                                             IV

       Defendants also maintain that Anibowei has failed to state a claim on which relief can

be granted. They posit that the Directives do not violate the Fourth or First Amendment

under the law of this circuit. The court will consider defendants Rule 12(b)(6) motion in the

alternative.

                                              A

       To state a claim for relief under Rule 12(b)(6), a complaints allegations must, when

taken as true, state[] a claim to relief that is plausible on its face. Innova Hosp. San

Antonio, Ltd. Pship v. Blue Cross & Blue Shield of Ga., Inc., 892 F.3d 719, 726 (5th Cir.

2018) (quoting Twombly, 550 U.S. at 570). The Fourth Amendment requires that searches

and seizures be reasonable[,] and the Fourth Amendments balance of reasonableness is

qualitatively different at the international border than in the interior. United States v.

Montoya de Hernandez, 473 U.S. 531, 537-38 (1985). Historically, searches made at the

border, pursuant to the longstanding right of the sovereign to protect itself by stopping and

examining persons and property crossing into this country, are reasonable simply by virtue

of the fact that they occur at the border. United States vs. Flores-Montano, 541 U.S. 149,

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152-53 (2004) (quoting United States v. Ramsey, 431 U.S. 606, 616 (1977)).

                                             B

       In the Fifth Circuit, the government does not need individualized suspicion to conduct

a routine manual cell phone search at the border, and nonroutine searches require only

reasonable suspicion. See United States v. Castillo, 70 F.4th 894, 898 (5th Cir. 2023); Malik

v. U.S. Dept of Homeland Sec., 78 F.4th 191, 200 (5th Cir 2023). Anibowei recognizes the

binding force of Castillo and Malik and that this court is bound by them. P. Resp. (ECF No.

127) at 15.5 The 2018 CBP Directive requires reasonable suspicion or a national security

concern for an advanced search of an electronic device. Ds. App. (ECF No. 125) at 15.

Similarly, the 2018 ICE Guidance, which updates the requirements for advanced border

searches of electronic devices, instructs agents not to perform advanced border searches of

electronic devices without reasonable suspicion. Id. at 33-34. Accordingly, to plead a

plausible claim for relief, Anibowei cannot rely on an allegation that the Directives

policieswhich comply with this circuits requirements for a border search of an electronic

device to be reasonableviolate the Fourth Amendment.




       5
        Anibowei cites United States v. Sultanov, 2024 WL 3520443, at *25 (E.D.N.Y. July
24, 2024), for the proposition that reasonableness under the Fourth Amendment should
require probable cause and a warrant because of the First Amendment interests and
considerations at stake with a search of electronic devices. Because binding Fifth Circuit
precedent does not require a warrant and probable cause, and because Sultanov is not binding
on this court, the court declines to follow Sultanov.

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                                               C

       Anibowei also alleges that the Directives violate the First Amendment because

individuals are chilled from exercising their First Amendment rights of free speech and

association, in knowing that their personal, confidential, and anonymous communications,

and their expressive material, may be viewed and retained by government agents without any

wrongdoing on their part. Compl. ¶ 123. Anibowei cites United States v. Sultanov, 2024

WL 3520443 (E.D.N.Y. July 24, 2024),6 for the proposition that First Amendment

considerations are relevant to the determination that a warrant and probable cause were

required to search a cell phone at the border, and he cites Zurcher v. Stanford Daily, 436 U.S.

547 (1970), for the proposition that the warrant requirement should be administered carefully

when presumptively protected materials are sought to be seized[.] Zurcher, 436 U.S. at

564. Neither of these cases, however, suggests that it is a standalone violation of the First

Amendment to search a cell phone at the border without probable cause and a warrant.

Instead, both cases consider First Amendment interests to determine what is reasonable under

the Fourth Amendment in their respective contexts. In Sultanov, which is not binding on this

court, the court referred to First Amendment considerations in determining that the Fourth

Amendment required probable cause and a warrant to search a cell phone at the border.

Sultanov, 2024 WL3520443, at *24-25. Similarly, the Court in Zurcher noted that, outside

of the border-search context, prior cases do no more than insist that the courts apply the



       6
           See supra note 5.

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warrant requirements with particular exactitude when First Amendment interests would be

endangered by the search. Zurcher, 436 U.S. at 565. It did not, however, suggest that

failure to do so would be a standalone violation of the First Amendment.

       Absent any binding authority to the contrary, this court holds that a warrantless border

search of an electronic device without probable cause does not violate the First Amendment

merely because the device may contain expressive or associational content.

                                               D

       Because the Directives comply with Fifth Circuit law, Aniboweis allegations, taken

as true, do not state a claim for relief that is plausible on its face. Accordingly, the court

holds in the alternative that, assuming arguendo that it has jurisdiction over Count VI of

Aniboweis second amended complaint, Count VI does not state a claim on which relief can

be granted.

                                          *    *     *

       Because this court lacks subject matter jurisdiction over Aniboweis APA claim, and,

alternatively, because Anibowei has failed to state a claim for which relief can be granted,




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the court grants defendants motion to dismiss Count VI of Aniboweis second amended

complaint. The court dismisses this action without prejudice by judgment filed today. 7

       SO ORDERED.

       November 22, 2024.



                                            _________________________________
                                            SIDNEY A. FITZWATER
                                            SENIOR JUDGE




       7
        This action is being dismissed without prejudice because the dismissal is for lack of
subject matter jurisdiction. The dismissal for failure to state a claim is in the alternative and
assumes arguendo that the court has subject matter jurisdiction.

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            TAB 5
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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                                 DALLAS DIVISION

GEORGE ANIBOWEI,

                       Plaintiff,

               v.                                              Case No. 3:16-cv-03495-D
KIRSTJEN M. NIELSEN, U.S. Secretary of Homeland
Security, in her official capacity; KEVIN K.
MCALEENAN, Commissioner of U.S. Customs and Bor-
der Protection, in his official capacity; RONALD D. VI-
TIELLO, Acting Director of U.S. Immigration and Cus-
toms Enforcement, in his official capacity; DAVID P.
PEKOSKE, Administrator of the Transportation Security
Administration, in his official capacity; WILLIAM P.
BARR, Attorney General of the United States, in his offi-
cial capacity; U.S. DEPARTMENT OF HOMELAND SE-
CURITY; U.S. CUSTOMS AND BORDER PROTEC-
TION; U.S. IMMIGRATION AND CUSTOMS EN-
FORCEMENT; TRANSPORTATION SECURITY AD-
MINISTRATION,

                       Defendants.


                       VERIFIED SECOND AMENDED COMPLAINT
                    FOR VACATUR OF UNLAWFUL AGENCY POLICIES
                     AND DECLARATORY AND INJUNCTIVE RELIEF

       1.      In Riley v. California, 573 U.S. 373 (2014), the Supreme Court unanimously held

that law enforcement must not search digital information on a cell phone without first obtaining a

warrant, except in narrow exigent circumstances. The Justices based this holding on the unique

character of cell phones. Id. at 375. Nearly every person carries one, and nearly every cell phone

has a “digital record of nearly every aspect” of a person’s life stored on it. The Supreme Court

thus held that warrants are required to search them, even in circumstances when government

agents have long been allowed to search a person’s other effects for some other function (such as

a search incident to arrest) without a warrant or even suspicion.
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       2.        This case is Riley at the border. Riley says that only a warrant supported by prob-

able cause can justify the search of a cell phone except in exigent circumstances. But policies

promulgated by U.S. Customs and Border Protection (CBP) and U.S. Immigration and Customs

Enforcement (ICE), invoking the “border search exception,” permit border agents to search cell

phones without warrants, probable cause, or reasonable suspicion for no other reason than that an

individual is seeking to cross an international border. Those same policies allow border agents to

download (i.e., seize) and store the information on a seized cell phone forever without a warrant

or probable cause. Again, all for no other reason but that an individual has crossed an interna-

tional border.

       3.        In other words, according to CBP and ICE regulations, the government may re-

quire a person to turn over a “digital record of nearly every aspect” of that person’s life to gov-

ernment agents, and the government may store it forever, for no other reason than because that

person took a flight from Toronto to Dallas. The government could not search a person’s house

just because that person crossed the border. But “a cell phone search would typically expose to

the government far more than the most exhaustive search of a house.” Riley, 573 U.S. at 376.

       4.        CBP and ICE follow their policies. They perform tens of thousands of cell phone

searches each year under their policies. CBP agents, relying on CBP and ICE directives and au-

thority, have searched plaintiff George Anibowei’s cell phone on at least five occasions. On one

of those occasions, they downloaded all of the data off the phone and kept it. To the best of Mr.

Anibowei’s knowledge, they keep it to this day.

       5.        The need to apply Riley’s warrant requirement at the border only grows. Lawyers

use electronic devices to store interview notes and briefs for their clients. Journalists do the same

with their records of conversations with whistleblowers and confidential sources. And everyday



                                                  2
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people use these devices to catalog their most sensitive and personal thoughts, conversations, and

life events in extensive detail—from data about their health, to condolences on the loss of a

loved one, to political rants emailed to friends, to gossip about other parents in the PTA, to inti-

mate messages from a romantic partner.1

       6.      A person does not give up the right to privacy and invite scrutiny of “nearly every

aspect” of their lives simply by crossing the U.S. border. The average person reasonably believes

that the communications and photographs sent, received, and stored on a phone are protected

from arbitrary and suspicionless searches by the government—not just some of the time, not just

in the Nation’s interior, but all of the time. But every time a person enters or exits the United

States with a phone or laptop, that person’s devices come within the scope of CBP and ICE poli-

cies that give agents unilateral authority to search every piece of stored information—without a

warrant, probable cause, or even a reasonable suspicion of any wrongdoing.

       7.      CBP and ICE’s arbitrary and suspicionless search policies violate the time-

honored presumption of privacy in sensitive communications, intimate relationships, and confi-

dential information. And they violate the First and Fourth Amendments to the Constitution.




1
     A recent survey suggests that half of all adults had not just received a sext or explicit photo,
but had actually stored sexts and explicit images that they receive. Sext Much? If So, You’re Not
Alone, Sci. Am., https://www.scientificamerican.com/article/sext-much-if-so-youre-not-alone;
see also Emily C. Stasko & Pamela A. Geller, Reframing Sexting as a Positive Relationship Be-
havior, Am. Psych. Ass’n (Aug. 2015), https://www.apa.org/news/press/releases/2015/
08/reframing-sexting.pdf.


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                                        INTRODUCTION

       8.      By early 2018, 95% of Americans owned a cell phone, and 77% of Americans

owned a smartphone.2 Approximately two-thirds of all people alive in the world today, counting

every age group and country, also own a cell phone.3

       9.      As the Supreme Court recognized in 2014, cell phones, and in particular today’s

smartphones, “place vast quantities of personal information literally in the hands of individuals.”

Riley v. California, 573 U.S. 373, 386 (2014). The nature of cell phones makes the search of a

cell phone by law enforcement extraordinarily invasive and potentially humiliating. Thus,

“[a]llowing the police to scrutinize such records on a routine basis is quite different from allow-

ing them to search a personal item or two in the occasional case.” Id. at 395.

       10.     For this reason, when the Supreme Court has been called to weigh in on law en-

forcement searches and seizures of cell phones, it has uniformly held that the collection of data

from cell phones requires the safeguard of a particularized warrant supported by probable cause.

See Riley, 573 U.S. 373; Carpenter v. United States, 138 S. Ct. 2206, 2209 (2018) .

       11.     Nonetheless, some relics of policy persist from the era before the Supreme Court

decided its first cell-phone-search cases.

       12.     In August 2009, U.S. Customs and Border Protection (CBP) and U.S. Immigra-

tion and Customs Enforcement (ICE) issued a pair of directives that permitted officials of the

two agencies to search “electronic devices”—defined as devices that “contain information, such

as computers, disks, drives, tapes, mobile phones and other communication devices”—“[i]n the

2
     Mobile Fact Sheet, Pew Research Center: Internet & Technology (Feb. 5, 2018),
http://www.pewinternet.org/fact-sheet/mobile/.
3
    Paul Sawers, 5 Billion People Now Have a Mobile Phone Connection, According to GSMA
Data, Venture Beat (June 13, 2017), https://venturebeat.com/2017/06/13/5-billion-people-now-
have-a-mobile-phone-connection-according-to-gsma-data/.


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course of a border search, with or without individualized suspicion.” 4 The directives specifically

authorize CBP and ICE officials to conduct warrantless and suspicionless searches, including of

privileged and sensitive information like “[l]egal materials,” “medical records,” and “work-

related information carried by journalists.”5

       13.     CBP updated its policy in 2018 to add nominal safeguards, none of which cures

the structural constitutional defects of the 2009 policy. CBP’s 2018 directive continues to au-

thorize searches of electronic devices with zero individualized suspicion and without any protec-

tions for privileged and sensitive information.

       14.     CBP and ICE’s extraordinarily broad policies expose one million travelers a day

to the threat of having their most sensitive information searched and seized without any sort of

individualized suspicion.

       15.     Among the untold number of people whose sensitive personal information has

been swept up in this policy is plaintiff George Anibowei. Mr. Anibowei is a naturalized U.S.

citizen born in Nigeria, and is the sole proprietor of his own law firm in Texas. Several times a

year, he travels for work and personal reasons, including to see friends and relatives in Nigeria

and other countries. Mr. Anibowei passed numerous and extensive security checks in the course

of his journey from Nigerian immigrant to naturalized U.S. citizen. He also passed the additional




4
     U.S. Customs and Border Protection, Border Search of Electronic Devices Containing In-
formation, CBP Directive No. 3340-49 (Aug. 20, 2009), https://www.eff.org/document/customs-
and-border-protection-directive-no-3340-049-border-search-electronic-devices; see also U.S.
Immigration and Customs Enforcement, Border Searches of Electronic Devices, ICE Directive
7-6.1 (Aug. 18, 2009),
https://www.dhs.gov/xlibrary/assets/ice_border_search_electronic_devices.pdf (containing near-
ly identical language).
5
    CBP Directive No. 3340-049 (Aug. 20, 2009).


                                                  5
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security checks required for participation in CBP’s Global Entry Trusted Traveler Program, and

was issued membership in the program on November 1, 2012.

       16.     Nonetheless, for reasons unknown to Mr. Anibowei and that the government will

not share, on October 10, 2016, CBP officers at the Dallas-Fort Worth Airport seized Mr. Ani-

bowei’s cell phone, saying that they were going to “copy the hard drive.” The officers did not

ask Mr. Anibowei for his consent or present him with a search warrant.

       17.     Mr. Anibowei has had his cell phone searched a total of at least five times by CBP

agents, beginning with this first search and seizure in 2016. In four of these instances, Mr. Ani-

bowei saw the agent search his text messages and other communications. Each of these searches

was authorized by the 2009 ICE and CBP policies. Each of these searches would similarly be

authorized by the 2018 CBP policy.

       18.     As an attorney, Mr. Anibowei regularly uses his smartphone to engage in sensi-

tive and confidential communications with his immigration clients. During these searches, it is

virtually certain that CBP viewed and copied privileged communications between Mr. Anibowei

and his clients. CBP’s searches and seizures of Mr. Anibowei’s privileged client communica-

tions, as well as other sensitive and private information on his phone, violate both his and his cli-

ents’ expectations of privacy in their privileged communications.

       19.     CBP’s repeated searches and seizures of Mr. Anibowei’s cell phone also have the

potential to harm Mr. Anibowei’s business. Given that some of Mr. Anibowei’s clients are ad-

verse to the U.S. Department of Homeland Security (DHS) in immigration proceedings, Mr. An-

ibowei’s inability to safeguard their information from an agency of DHS threatens to damage the

trust and confidence of his clients.




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       20.     These warrantless and suspicionless searches of Mr. Anibowei’s cell phone are

“unreasonable searches and seizures” prohibited by the Fourth Amendment. The CBP and ICE

policies authorizing warrantless and suspicionless searches of electronic devices facially violate

the Fourth Amendment.

       21.     Moreover, these warrantless and suspicionless searches violate the First Amend-

ment rights of individuals entering and exiting the United States. The CBP and ICE policies ex-

pose individuals’ sensitive, expressive, and associational information to arbitrary search by gov-

ernment agents. The ever-present possibility of warrantless and suspicionless search chills pro-

tected expression. This specter encourages individuals to leave their devices at home so that they

cannot communicate at all, or to censor their speech if they do carry them.

       22.     Every day that government agents keep Mr. Anibowei’s data, the government

holds in its possession the fruits of an unconstitutional search and seizure. The injury to Mr. Ani-

bowei’s constitutional rights wrought by the continued retention of this data continues to this

day.

       23.     Mr. Anibowei seeks a declaration that CBP’s searches of his cell phone were un-

lawful, and an injunction requiring that the government destroy his data. He also seeks vacatur of

CBP and ICE’s unlawful policies.

                                JURISDICTION AND VENUE

       24.     This Court has subject matter jurisdiction over Plaintiff’s federal claims pursuant

to 28 U.S.C. § 1331 because he challenges federal law and final agency action under the laws

and Constitution of the United States.

       25.     This Court has authority to issue declaratory and injunctive relief under 28 U.S.C.

§ 2201 and § 2202, Rules 57 and 65 of the Federal Rules of Civil Procedure, and its inherent eq-

uitable powers.
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         26.   Venue is proper in this Court pursuant to 28 U.S.C. § 1391 because a substantial

part of the events or omissions giving rise to Plaintiff’s claims occurred in this District.

                                             PARTIES

         27.   Plaintiff George Anibowei is a U.S. citizen licensed to practice law in the State of

Texas since 2002. He resides at 934 Colorado Drive in Allen, TX.

         28.   Defendant Kirstjen M. Nielsen is the Secretary of the U.S. Department of Home-

land Security. She oversees DHS and its sub-agencies. She is sued in her official capacity.

         29.   Defendant Kevin K. McAleenan is the Commissioner of U.S. Customs and Bor-

der Protection. He oversees CBP. He is sued in his official capacity.

         30.   Defendant Ronald D. Vitiello is the Acting Director of U.S. Immigration and Cus-

toms Enforcement. He administers ICE. He is sued in his official capacity.

         31.   Defendant David P. Pekoske is Administrator of the Transportation Security Ad-

ministration (TSA). He administers TSA. He is sued in his official capacity.

         32.   Defendant William P. Barr is Attorney General of the United States. He oversees

the Department of Justice and its sub-agencies. He is sued in his official capacity.

         33.   Defendant U.S. Department of Homeland Security (DHS) is a Department of the

Executive Branch of the United States and is an “agency” within the meaning of 5 U.S.C.

§ 552(f)(1).

         34.   Defendant U.S. Customs and Border Protection (CBP) is a sub-agency of DHS. It

is responsible for administering security checks at airports and other ports of entry.

         35.   Defendant U.S. Immigration and Customs Enforcement (ICE) is a sub-agency of

DHS. It plays a supporting role in administering security checks at airports and other ports of

entry.



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       36.     Defendant Transportation Security Authority (TSA) is a sub-agency of DHS,

housed within CBP. It has particular responsibility for administering security checks at airports.

                                          BACKGROUND

       A.      Searches and Seizures of Electronic Data

       37.     Ninety-five percent of Americans and approximately two-thirds of all people in

the world own a cell phone. These numbers are only projected to grow. By 2020, an estimated

80% of all adults in the world will own not just a cell phone but a smartphone, with all the en-

hanced storage capability this implies.

       38.     These devices are capable of containing extraordinary amounts of information, far

beyond any other object a traveler could possibly carry. Today’s iPhones, for instance, are capa-

ble of storing up to 256 gigabytes of data 6—enough to hold hundreds of thousands of emails,

documents, or images. A typical laptop computer can store double that. 7

       39.     These devices not only store massive amounts of information, but also the most

sensitive and personal information in a user’s life. Electronic devices may store virtually all of an

individual’s communications—texts, voice mails, emails, and social-media posts—as well as de-

tailed information on his location; his financial, legal, and medical history; his contacts; and his

browsing and social-media history. Applications on the market today allow cell phone, tablet,

and laptop users to store and analyze detailed information about such deeply personal topics as

disease and pregnancy status, weight loss and physical fitness, income and credit history, and




6
    About Storage on Your Device and in iCloud, Apple.com, https://support.apple.com/en-
us/HT206504 (last visited Mar. 12, 2019).
7
    15-inch MacBook Pro, Apple.com, https://www.apple.com/macbook-pro/specs/ (last visited
Mar. 12, 2019).


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relationship status. Other applications could be used to build a detailed record of a person’s sex-

ual orientation and sexual history, political beliefs, and religious affiliation.

          40.   The data on some electronic devices, in the aggregate, can be used to reconstruct

virtually every aspect of a person’s career, personal life, habits, beliefs, associations, and daily

routines. Indeed, the explosive implications of these devices for personal privacy have become

so alarming that they have spurred a national debate over technology, privacy, and the power of

businesses—like Facebook and Google—that hold or can access personal data generated or

stored on electronic devices.8 The intensity of users’ fears clearly demonstrates an emerging so-

cietal consensus that an expectation of privacy in these devices is “one that society is prepared to

recognize as reasonable”—indeed, as essential. See Smith v. Maryland, 442 U.S. 735, 740

(1979).

          41.   As the Supreme Court has noted, “a cell phone search would typically expose to

the government far more than the most exhaustive search of a house”—historically the piece of

property that the Constitution has protected most. See Riley, 573 U.S. at 397. The Supreme Court

has duly recognized that electronic devices are in a category apart for Fourth Amendment pur-

poses given their extraordinary privacy implications.

          42.   Electronic devices not only hold our deepest secrets; they are practically exten-

sions of our bodies, traveling with us everywhere we go. Many people would not be able to re-

tain a job, receive help in an emergency, or maintain their personal relationships without the help


8
     See, e.g., Steve Shillingford, Facebook, Twitter, and Google Have Too Much Power—We
Can’t Just Legislate Ourselves Out of This Mess, Fox News (Sept. 5, 2018),
https://www.foxnews.com/opinion/facebook-twitter-and-google-have-too-much-power-we-cant-
just-legislate-ourselves-out-of-this-mess; John Herrman, Have the Tech Giants Grown Too
Powerful? That’s an Easy One, N.Y. Times (July 11, 2018), https://www.nytimes.com/2018/07/
11/magazine/facebook-google-uber-tech-giants-power.html.


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of a cell phone, laptop, tablet, or in many cases all three. Many workers use their electronic de-

vices daily to receive and respond to sensitive and pressing business communications. For most

people, it is not an option to leave their electronic devices at home, including when they travel.

         43.   Every day, many of the 95% of Americans who own a cell phone enter and leave

the United States, as do many thousands of foreign nationals. In 2017, CBP processed an average

of over 1.1 million people per day coming into and leaving the United States by land, air, and

sea.9 Approximately half of these people are U.S. citizens.

         44.   Extrapolating from these figures, we can conservatively estimate that in a 24-hour

period, approximately 885,000 cell phones enter or leave the United States at a port of entry.

522,500 of these cell phones belong to U.S. citizens.10

         45.   These travelers also carry thousands of other electronic devices across the border

daily.

         46.   In great part due to the extraordinary capabilities of these devices, the Supreme

Court affords far greater protection to cell phones and other electronic devices than to other ob-

jects subject to search, as explained in detail below. CBP and ICE nevertheless subject these

most sensitive implements to extensive warrantless and suspicionless searches.

         B.    CBP and ICE Policies

         47.   On August 18, 2009, ICE issued an extraordinarily broad policy functionally

permitting its border agents to conduct searches of all “electronic devices” in the possession of

travelers into and out of the United States. See ICE Directive 7-6.1 (Aug. 18, 2009).


9
     On a Typical Day in Fiscal Year 2018, CBP…, U.S. Customs and Border Protection (March
7, 2019), https://www.cbp.gov/newsroom/stats/typical-day-fy2018.
10
     This estimate is conservative because people who travel internationally may be more likely
than the general population to own a cell phone.


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       48.     Two days later, on August 20, 2009, CBP issued a nearly identical directive. See

CBP Directive No. 3340-049 (Aug. 20, 2009).

       49.     The majority of agents at ports of entry work for CBP, while ICE agents provide

supplemental help in some cases.

       50.     The 2009 policies permitted CBP and ICE agents conducting border searches,

“without individualized suspicion,” to “examine electronic devices”; to “review and analyze the

information” encountered during the course of the search; and to retain devices and data indefi-

nitely. CBP Directive No. 3340-049, §§ 5.1.2, 5.3.1.

       51.     Under the agencies’ 2009 policies, agents may confiscate devices from travelers

for a “thorough” search, either on-site or off-site, without individualized suspicion. See id.

§ 5.3.1; ICE Directive 7-6.1, §§ 6.1, 8.1.4. While CBP confiscations presumptively last no more

than five days, CBP supervisors may extend this period based on undefined “extenuating circum-

stances.” CBP Directive No. 3340-049, §§ 5.3.1, 5.3.1.1. Confiscations by ICE can last up to 30

days without supervisor approval, and can be extended under “circumstances … that warrant

more time.” ICE Directive 7-6.1, § 8.3.1.

       52.     The 2009 policies instruct the agencies to delete data only “if, after reviewing in-

formation … there is not probable cause to seize it.” CBP Directive No. 3340-049, § 5.3.1.2. As

a result, agents may permanently detain an electronic device and its data without a warrant. And

the probable cause necessary to permanently detain devices or information can be generated

through the initial searches and seizures performed without any individualized suspicion.

       53.     On January 4, 2018, CBP issued a directive superseding its 2009 directive. See

CBP Directive No. 3340-049A (Jan. 4, 2018) (the “2018 Policy”).




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           54.   While CBP’s 2018 Policy supersedes its 2009 Policy, ICE has not issued a com-

parable new policy. Under ICE’s 2009 Directive, ICE agents are currently authorized to search

electronic devices and to review, analyze, and copy their contents without any individualized

suspicion.

           55.   CBP’s 2018 Policy covers “[a]ny device that may contain information in an elec-

tronic or digital form, such as computers, tablets, disks, drives, tapes, mobile phones and other

communication devices, cameras, music and other media players.” § 3.2.

           56.   The 2018 Policy opens up this entire category to two types of searches—“basic”

and “advanced”—neither of which must be supported by a particularized warrant or even by

probable cause. §§ 5.1.3, 5.1.4.

           57.   A “basic search” is by no means “basic”; it is highly intrusive and allows officers

to access all content and communications stored on the device. An agent conducting a basic

search “may examine an electronic device and may review and analyze information encountered

at the border.” § 5.1.3. The 2018 Policy authorizes an agent to perform a “basic search” without

any individualized suspicion. Id.

           58.   An “advanced search” allows for the connection of “external equipment, through

a wired or wireless connection, to an electronic device not merely to gain access to the device,

but to review, copy, and/or analyze its contents.” § 5.1.4. The 2018 Policy authorizes an agent to

perform an “advanced search” if he has either “reasonable suspicion of activity in violation of

the laws enforced or administered by CBP” or where “there is a national security concern.”

§ 5.1.4.

           59.   The 2018 Policy makes no effort to cabin its vague and capacious terms “reason-

able suspicion” or “national security concern.” The Policy explains that “[m]any factors may



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create reasonable suspicion or constitute a national security concern; examples include the

existence of a relevant national-security-related lookout in combination with other articulable

factors as appropriate, or the presence of an individual on a government-operated and

government-vetted terrorist watch list.” § 5.1.4.

       60.     Moreover, the 2018 Policy does not require that “reasonable suspicion” be in any

way related to the electronic device or its data. Rather, the 2018 Policy authorizes agents to re-

view, copy, and analyze the content of an electronic device based only on suspicion that the

owner of the device is violating CBP-administered laws, regardless of whether the agents rea-

sonably suspect that the device or its data contain evidence of such a violation.

       61.     The 2018 Policy adds insult to injury by demanding that individuals facilitate

these unlawful searches and seizures. Individuals must “present electronic devices and the in-

formation contained therein in a condition that allows inspection.” This means that officers may

require individuals to unlock or decrypt their devices or information and can “request[] and re-

tain” “[p]asscodes or other means of access … as needed to facilitate the examination of an elec-

tronic device or [its] information.” § 5.3.1.

       62.     While the 2018 Policy recommends that agents obtain supervisor approval before

conducting a search, officers need only obtain such approval if it is “practicable.” § 5.1.5. Simi-

larly, while the 2018 Policy advises that “[s]earches of electronic devices should be conducted in

the presence of the individual whose information is being examined,” it permits agents to search

devices outside their owners’ presence if there are “national security, law enforcement, officer

safety, or other operational considerations that make [owner presence] inappropriate.” § 5.1.6.

       63.     Perhaps the most extraordinary part of the 2018 Policy relates to the detention of

electronic devices and copying of their information. The policy gives officers power, absent any



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individualized suspicion, to detain electronic devices and information copied from them “for a

brief, reasonable period of time to perform a thorough border search.” This period “ordinarily

should not exceed five (5) days” but can be extended for undefined “extenuating circumstances.”

§ 5.4.1. Detention can continue even after the individual has departed from the port of entry.

§ 5.4.1.1.

        64.    The 2018 Policy provides that electronic devices will be returned and data will be

deleted only “if, after reviewing information, there exists no probable cause to seize the device or

information.” § 5.4.1.2. As a result, agents may permanently detain an electronic device and its

data without a warrant. And the probable cause necessary to permanently detain devices or in-

formation can be generated through the initial searches and seizures performed without any indi-

vidualized suspicion, absent any review from a neutral magistrate.

        65.    Agents are authorized to retain “information relating to immigration, customs, and

other enforcement matters if such retention is consistent with the applicable system of record no-

tice,” even absent any individualized suspicion. § 5.5.1.2.

        66.    Without individualized suspicion, the officer is authorized to transfer electronic

devices and information thereon to other government agencies for a variety of purposes.

        67.    For example, without individualized suspicion, “[o]fficers may convey electronic

devices or copies of information contained therein to seek technical assistance” so as to allow

access to the device or its information. § 5.4.2.1. Officers may also convey devices or infor-

mation to “subject matter experts” in other federal agencies “when there is a national security

concern or … reasonable suspicion.” § 5.4.2.2.

        68.    Individuals need not be notified when their devices or information are transmitted

to other agencies. § 5.4.2.5.



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       69.     The 2018 Policy also provides inadequate guidance on how officers should handle

privileged and sensitive material. It contemplates that officers may “encounter[] information they

identify as, or that is asserted to be, protected by attorney-client privilege or attorney work prod-

uct doctrine.” § 5.2.1. But the Policy provides no meaningful direction on how officers should

handle that information. Rather, the Policy vaguely instructs officers to “ensure the segregation

of any privileged material” so that it is “handled appropriately while also ensuring that CBP ac-

complishes its critical border security mission.” § 5.2.1.2.

       70.     The 2018 Policy’s guidance on “[o]ther possibly sensitive information” is even

vaguer. “[M]edical records and work-related information carried by journalists … shall be han-

dled in accordance with any applicable federal law and CBP policy.” § 5.2.2. Business or com-

mercial information shall be “protect[ed] from unauthorized disclosure.” § 5.2.3.

       71.     The 2018 Policy contemplates that privileged or sensitive information may be

shared with other federal agencies so long as those agencies “have mechanisms in place to pro-

tect appropriately such information.” § 5.2.4.

       72.     The 2018 CBP Policy and 2009 ICE Policy essentially make the 885,000 cell

phones that transit into and out of the United States every single day fair game for a warrantless

and suspicionless search and seizure, alongside untold numbers of other devices containing sen-

sitive information, like laptops.

       73.     These agency policies also promise to cause extraordinary inconvenience to trav-

elers by authorizing detention of an electronic device for multiple days. For the many interna-

tional travelers who do not intend to remain near their port of entry following admission to the

United States, the policies constitute an extraordinary burden. And the burden is even greater for

travelers whose electronics are detained as they are leaving the United States. These travelers are



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given a choice of evils: abandoning their devices, with all of their personal information, to ICE

and CBP; or losing up to thousands of dollars and many days of their time in order to reschedule

their travel until their electronics clear inspection. Even burdening a million travelers a day with

the possibility that they will be forced to endure these inconveniences to permit a warrantless and

suspicionless search is an extraordinary intrusion on the liberty of citizens and visitors alike.

       C.      The Law of Electronic-Device Searches

       74.     CBP and ICE’s electronic search policies are not only breathtakingly broad. They

fly directly in the face of Supreme Court jurisprudence on protection for cell phones and other

electronic devices and digital records and communications.

       75.     In Riley v. California, 573 U.S. 373 (2014), the Supreme Court recognized that

the extraordinary powers and capabilities of cell phones place them in a class apart from other

objects, requiring particularly robust Fourth Amendment protection. The Riley court unanimous-

ly held that law enforcement must not search digital information on a cell phone without first ob-

taining a warrant, except in a very narrow set of exigent circumstances.

       76.     Tellingly, all of the Justices based this holding on the unique characteristics of

cell phones. Cell phones, the Court noted, are “now such a pervasive and insistent part of daily

life that the proverbial visitor from Mars might conclude they were an important feature of hu-

man anatomy.” Id. at 385. Applying a traditional balancing assessment for warrant requirements,

the Court concluded that the intrusion on privacy interests in a warrantless cell phone search far

outweighs the government interest supporting it. Id. at 385-86. The Court noted that the only le-

gitimate interest in a warrantless search—avoiding the remote deletion of evidence—was a rela-

tively unlikely and weak one in most cases. Id. at 388-90. On the other hand, the Court recog-

nized that allowing warrantless cell phone searches implicated stark and troubling privacy con-

cerns. Noting the “immense storage capacity” of cell phones, the Court enumerated four distinct
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ways that cell phones, among all objects law enforcement might search, have unique privacy im-

plications: they collect “many distinct types of information … that reveal much more in combi-

nation than any isolated record”; they collect more of each individual type of information than

previously possible; they collect this information over massive amounts of time, months or even

years; and they are so pervasive in society that they function as a “digital record of nearly every

aspect” of most Americans’ lives, including their most personal information. Id. at 393-95. Tak-

ing these unique capacities together, the Supreme Court held that the balance of equities clearly

favored requiring a warrant.

       77.     Similarly, courts have again and again found that people have a reasonable expec-

tation of privacy in their computers and in folders and documents on their computers. See United

States v. Zavala, 541 F.3d 562, 577 (5th Cir. 2008) (finding reasonable expectation of privacy in

the contents of a person’s cell phone and noting that “a cell phone is similar to a personal com-

puter that is carried on one’s person”); see also, e.g., United States v. Heckenkamp, 482 F.3d

1142, 1146 (9th Cir. 2007); United States v. Buckner, 473 F.3d 551, 554 n.2 (4th Cir. 2007).

       78.     And, expectations of privacy aside, the Supreme Court has zealously guarded

against “government trespass upon the areas (‘persons, houses, papers, and effects’)” that the

Fourth Amendment enumerates. United States v. Jones, 565 U.S. 400, 406-07 (2012); see also

United States v. Ackerman, 831 F.3d 1292, 1307 (10th Cir. 2016) (Gorsuch, J.).

       79.     Even some of the individual functions of cell phones and smartphones receive

heightened constitutional protection. The Supreme Court recently held that law enforcement

must secure a warrant to view data generated by the location-tracking functions of phones and

other electronic devices. Carpenter, 138 S. Ct. at 2232-33. Several circuits have held that law

enforcement officials may not access an individual’s emails without a warrant; email is an essen-



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tial function of virtually every smartphone. See, e.g., United States v. Warshak, 631 F.3d 266,

288-89 (6th Cir. 2010). In other words, courts have overwhelmingly found that searches of

phones, laptops, similar devices, and even some of their component functions require a warrant.

       80.     Nor are the courts particularly burdening law enforcement by requiring warrants.

If technology has opened up vast troves of sensitive information to inspection by government

agencies, it has also made it exceptionally easy for these agencies to secure a warrant with mini-

mal effort and delay. As the Supreme Court noted in Riley, in one jurisdiction, “police officers

can e-mail warrant requests’ to judges’ iPads [and] judges have signed such warrants and

emailed them back to officers in less than 15 minutes.” 573 U.S. at 401. Such a practice is not

rare: the Supreme Court has previously noted that the Federal Rules of Criminal Procedure have

permitted telephonic warrants since 1977. Missouri v. McNeely, 569 U.S. 141, 154 (2013). Law

enforcement officials can secure a warrant quickly by a variety of means, including “telephonic

or radio communication, electronic communication such as e-mail, and video conferencing.” Id.

The hurdle of securing a warrant is not high.

                                 FACTUAL ALLEGATIONS

       A.      Mr. Anibowei Begins Receiving Intense Scrutiny at the Airport, and Is Re-
               moved Without Notice from CBP’s Global Entry Trusted Traveler Program

       81.     Plaintiff George Anibowei was born in Port Harcourt, Rivers State, Nigeria and is

originally from Agbere, Bayelsa State, in the Niger Delta region of Nigeria. Mr. Anibowei fled

Nigeria in 1997 after his work as a pro-democracy activist put him in danger of retaliation by

Nigeria’s military dictatorship, then led by General Sani Abacha.

       82.     Seeking a life with more freedoms and civil liberties, Mr. Anibowei applied for

and received asylum in the United States in 1998. He became a naturalized U.S. citizen in 2007.




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       83.     A lawyer by profession in Nigeria, Mr. Anibowei completed a master’s degree

and Juris Doctor degree at Southern Methodist University Law School in Dallas. He is admitted

to practice law before all courts in the State of Texas, the U.S. District Court for the Northern

District of Texas, the U.S. Court of Appeals for the Fifth Circuit, and the U.S. Supreme Court.

Originally drawn to Texas because one of his brothers lived there, he has settled in the Dallas

suburbs and operates his own small legal practice, primarily representing immigrants.

       84.     To become a naturalized U.S. citizen in the years following the September 11th

attacks, Mr. Anibowei had to pass an extensive security check.11 The requirements for this back-

ground check are rigorous. All applicants must undergo fingerprinting, which the FBI then uses

to run a full criminal background check. The FBI also conducts a “name check,” which includes

a search against a database that contains not only criminal files but also personnel, administra-

tive, and applicant files. In addition to these FBI background checks, most applicants also go

through additional inter-agency background checks coordinated by U.S. Citizenship and Immi-

gration Services.

       85.     Mr. Anibowei is a frequent traveler. He typically travels to Nigeria several times a

year to visit his brothers and sisters who still live there, as well as his extended family and

friends. He is also a frequent tourist in Europe, the Caribbean, and other African countries.

       86.     In order to facilitate his travel, Mr. Anibowei applied for and eventually received

membership in CBP’s Global Entry Trusted Traveler Program, beginning on November 1, 2012.

The Trusted Traveler Program requires applicants to pass another layer of extremely thorough

security checks in order to receive membership. Successful applicants must pass a background

11
  See USCIS Policy Manual: Chapter 2—Background and Security Checks, U.S. Citizenship
and Immigration Services, https://www.uscis.gov/policymanual/HTML/PolicyManual-
Volume12-PartB-Chapter2.html (Feb. 12, 2019).


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check against criminal, law enforcement, customs, immigration, agriculture, and terrorist indices,

a process that includes fingerprinting.12 Successful applicants also pass an in-person interview

with a security officer.

       87.     In 2014, Mr. Anibowei took a leave of absence from his law practice to return to

Nigeria in order to participate in a national constitutional conference called by the country’s now

democratically elected government. The convention, known as the 2014 Nigerian National Con-

ference, brought together 492 distinguished delegates from Nigeria and the Nigerian Diaspora to

debate structural problems with the country’s constitution and propose reforms directly to the

immediate past President, Goodluck Jonathan. Attendees at the conference included retired gov-

ernors and ministers in the Nigerian Government and prominent Nigerian politicians and law-

yers. Concerns at the conference included power-sharing among different states and the federal

government and states’ ability to profit off their own natural resources—a particular concern of

states in the oil-rich Niger Delta, where Mr. Anibowei is from.

       88.     Mr. Anibowei spent much of his five months in Nigeria as one of the National

Assembly’s 492 delegates, while a colleague shouldered the matters pending at his solo practice.

On breaks in the Assembly, he returned to Texas to check on his law office.

       89.     To the best of Mr. Anibowei’s recollection, it was around the time of the Nigerian

National Conference that TSA began to subject Mr. Anibowei to additional screening virtually

every time he entered or left the United States, even as a member of the Trusted Traveler Pro-

gram. Initially, this mainly consisted of putting Mr. Anibowei into secondary screening on his

way to and from Nigeria to ask him about the purpose and length of his trip.

12
  Is Criminal History a Disqualifier for Global Entry? U.S. Customs and Border Protection
(Aug. 2, 2017), https://help.cbp.gov/app/answers/detail/a_id/1309/~/is-criminal-history-a-
disqualifier-for-global-entry%3F.


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         90.     Mr. Anibowei believes he was initially flagged for routine additional screening

because he was spending a long period of time in Nigeria and frequently traveling back to the

United States.

         91.     TSA and CBP continued to question and detain Mr. Anibowei virtually every

time he traveled internationally, and the screening of Mr. Anibowei gradually grew more intense.

In spring of 2014, Mr. Anibowei was traveling with his son, who shares his name, from Houston,

Texas to Lagos, Nigeria, when Mr. Anibowei’s then-teenage son was taken aside by seven uni-

formed officers. The officers soon realized they were looking for Mr. Anibowei rather than his

son. Subsequently, five officers took Mr. Anibowei into a small room for interrogation, inviting

his son in too against the wishes of Mr. Anibowei. As a result, Mr. Anibowei’s son witnessed his

father’s interrogation, a situation his father found humiliating.

         92.     The officers detained and questioned Mr. Anibowei for approximately two hours,

resulting in his flight being delayed for that period. Mr. Anibowei did not realize that he was the

reason for the flight delay until a manager from United Airlines walked into the interrogation

room and asked one of the officers whether they could begin boarding the flight. The officer re-

sponded that the manager could proceed because they were almost done questioning Mr. Ani-

bowei.

         93.     This treatment continued after the Nigerian National Conference had ended. In

another incident from that period, Mr. Anibowei was stranded in Toronto for two days after the

Canadian Border Services Agency subjected him to a five-hour interrogation at the request of

CBP, causing him to miss his flight.

         94.     On May 12, 2015, when returning from another international trip, Mr. Anibowei

learned that, for reasons unknown to him, his membership in the Global Entry Trusted Traveler



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Program had been revoked on March 7, 2015. Mr. Anibowei received no notice of this develop-

ment until he attempted to reenter the United States using a Global Entry kiosk at the airport only

to be pulled once again into secondary inspection. In secondary inspection, the CBP agent told

Mr. Anibowei that his Global Entry status had been revoked. CBP never sent Mr. Anibowei a

letter notifying him of the change. Mr. Anibowei ultimately was able to download the revocation

letter from his account on the Global Online Enrollment System, a website managed by CBP.

        95.      Mr. Anibowei has since made numerous and apparently unavailing efforts to ap-

peal this decision. Mr. Anibowei first requested reconsideration of his application for the Trusted

Traveler Program from CBP. In a response from the CBP Ombudsman dated March 11, 2016,

the Ombudsman acknowledged receipt of Mr. Anibowei’s request but reiterated, using the same

language as the revocation letter, that Mr. Anibowei “d[id] not meet the eligibility requirements

for the Trusted Traveler program.”

        96.      Mr. Anibowei also filed a Redress Request (#2232471) with CBP on DHS’s

Traveler Redress Inquiry Program (TRIP) Website. In response to this Redress Request, Mr. An-

ibowei received a letter dated June 30, 2016 from Deborah O. Moore, the Director of TRIP. The

letter stated:

        DHS has researched and completed our review of your case. Security Procedures
        and legal concerns mandate that we can neither confirm nor deny any information
        about you which may be within federal watch lists or reveal any law enforcement
        sensitive information. However, we have made any corrections to records that our
        inquiries determined were necessary, including, as appropriate, notations that may
        assist in avoiding incidents of misidentification.

        B.       Mr. Anibowei’s Cell Phone Is Copied by CBP, and Subjected to a Search on
                 No Fewer Than Five Occasions

        97.      At this point, Mr. Anibowei had simply accepted that he would be stopped and

screened, sometimes for hours, any time he tried to leave or enter the United States. Trying to


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adjust to this new reality, he mentally prepared (and still does) to be pulled into secondary inter-

rogation on every trip. On occasions when another person intends to pick Mr. Anibowei up at the

Dallas-Fort Worth Airport, he tells them to come two or three hours after his scheduled flight

arrival time because he knows he will be put into inspection.

           98.    On October 10, 2016, Mr. Anibowei was returning to the Dallas area after a

weekend spent visiting his best friend in Toronto. Upon landing in Dallas, the pilot announced

that the passengers—who had begun to collect their luggage in preparation to exit the plane—

should return to their assigned seats, because security had arrived at the gate to escort a passen-

ger off.

           99.    Mr. Anibowei, who had slept through the flight, assumed that the announcement

had to do with an unruly passenger. He was consequently surprised when a pair of agents board-

ed the flight, asked to see his identification, and told him to take his luggage and follow them.

The officers subsequently escorted Mr. Anibowei off the plane and through three terminals at the

airport, to his great humiliation and distress.

           100.   The officers eventually brought Mr. Anibowei to a small interrogation room,

where they asked him for his phone. When Mr. Anibowei asked them why they wanted to see it,

the agents told him that they planned to “copy the hard drive,” taking his phone out of the room.

           101.   When Mr. Anibowei vigorously protested this action, the officers handed him a

flyer explaining their legal authority, under the 2009 CBP Directive, to undertake the search and

seizure.

           102.   The officers returned Mr. Anibowei’s phone to him about thirty minutes after they

seized it.




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       103.    The phone the officers seized was Mr. Anibowei’s work cell phone. As an attor-

ney, Mr. Anibowei takes his work phone with him virtually everywhere, in order to be accessible

for time-sensitive matters or in a client emergency, and he estimates that approximately 80 per-

cent of his clients prefer to call him on his cell phone. Mr. Anibowei’s phone contains extremely

sensitive information about his clients and their cases, including call logs, voice mails, text mes-

sage threads with clients, and perhaps worst of all an archive of Mr. Anibowei’s work emails,

which in turn contains drafts of confidential filings among other information.

       104.    This seizure was particularly distressing to Mr. Anibowei because a significant

number of his clients are immigrants in removal proceedings adverse to DHS. The seizure and

copying of Mr. Anibowei’s phone by an agency of DHS was a gross violation of these clients’

expectation of privacy in their privileged legal communications with their attorney, committed

by the adverse party in those clients’ cases.

       105.    This was the last time Mr. Anibowei carried his work phone with him on an inter-

national trip. But the damage was already done. To this day, Mr. Anibowei has no idea why the

agency copied data from his cell phone and for what purpose, if any, it has used the data. He be-

lieves that, to this day, the agency never destroyed the data and continues to retain them.

       106.    Furthermore, Mr. Anibowei’s decision to stop carrying his work phone was not a

complete solution. Mr. Anibowei’s work emails are also accessible on his personal phone. How-

ever, to stop carrying his personal phone would render Mr. Anibowei completely inaccessible in

either a personal or work emergency.

       107.    Since the October 16, 2016 incident, Mr. Anibowei’s phone has been searched a

minimum of four additional times by officers of DHS.




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       108.    An incident on February 12, 2017 was typical. Mr. Anibowei was returning from

a visit to his friends and relatives in Nigeria, and was put into secondary inspection on returning

to the Dallas-Fort Worth Airport. In secondary inspection, TSA agents performed an extremely

thorough search of all of Mr. Anibowei’s luggage and asked to see his phone. A TSA agent then

performed an extensive search of Mr. Anibowei’s phone in front of him. Mr. Anibowei believes

that the officer viewed his text messages, as well as encrypted messages he sent and received

through WhatsApp (a texting application very popular globally). Because Mr. Anibowei’s email

is not password protected on his phone, it is possible the officer viewed Mr. Anibowei’s email,

too.

       109.    There is an extraordinary irony to Mr. Anibowei’s case. Mr. Anibowei came to

the United States seeking freedom. He makes a living helping other people who wish to enjoy

this country’s freedoms. While Mr. Anibowei is not certain, he believes that the catalyst for

CBP’s increased interest in him was his frequent travel overseas. And, since 2016, that travel has

resulted in scrutiny of every aspect of his personal and professional life, via CBP’s free and un-

inhibited access to all of the data on his phone.

       110.    Mr. Anibowei fears grave injury to his reputation and his business as a result of

CBP and ICE’s search and copying of his phone. Mr. Anibowei fears that if his clients knew or

believed that CBP had copied their data from Mr. Anibowei’s phone, it would diminish their

trust and confidence in him as an attorney.

       111.    CBP and ICE’s illegal electronics search and seizure policies have worked a grave

injury to Mr. Anibowei’s First and Fourth Amendment rights.

       112.    Mr. Anibowei intends to continue traveling internationally to visit his family in

Nigeria and for pleasure.



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         113.   Based on his experiences recounted above, Mr. Anibowei reasonably believes that

Defendants will continue to violate his First and Fourth Amendment rights when he travels inter-

nationally in the future.

                     FACTS RELEVANT TO ALL CLAIMS FOR RELIEF

         114.   Defendants adopted the policies and practices discussed above related to search-

ing and seizing electronic devices at the border.

         115.   The frequency with which border officials enforce these policies and practices

against travelers is rapidly growing.

         116.   Mr. Anibowei has traveled across the U.S. border with his cell phone multiple

times.

         117.   Mr. Anibowei has a credible fear that his cell phone will be searched again.

         118.   Mr. Anibowei is suffering the ongoing harm of the confiscation of the information

on his cell phone.

         119.   Mr. Anibowei’s phone is private personal property that agents have taken without

his consent.

         120.   Mr. Anibowei has a reasonable expectation of privacy in the content on his cell

phone, in the content he stores in the cloud that is accessible through his cell phone, in his device

passwords, and in the information he holds as an information fiduciary on behalf of other people.

         121.   Mr. Anibowei uses his cell phone to communicate, associate, and gather and re-

ceive information privately and anonymously.

         122.   Mr. Anibowei uses his cell phone to store sensitive attorney work product and

confidential information on behalf of his clients, some of whom are immigrants adverse to De-

fendants.



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         123.   Mr. Anibowei, and the many other travelers who cross the United States border

every year with electronic devices, are chilled from exercising their First Amendment rights of

free speech and association, in knowing that their personal, confidential, and anonymous com-

munications, and their expressive material, may be viewed and retained by government agents

without any wrongdoing on their part.

         124.   Mr. Anibowei feels confused, embarrassed, upset, violated, and anxious about the

search and copying of his cell phone. He worries that government agents have viewed personal

information taken from his phone, including photos and messages, and shared it with other gov-

ernment agencies. He worries about his own personal information, and also personal information

from and about other people, including friends, family, clients, and professional associates.

         125.   Defendants have directly performed, or aided, abetted, commanded, encouraged,

willfully caused, participated in, enabled, contributed to, or conspired in the device searches, de-

vice confiscations, policies, and practices alleged above, by promulgating or causing to be prom-

ulgated the ICE and CBP policies permitting the search of Mr. Anibowei’s phone, and by direct-

ing agents to enforce those policies.

         126.   By the acts alleged above, Defendants have proximately caused harm to Mr. Ani-

bowei.

         127.   Defendants’ conduct was done intentionally, with deliberate indifference, or with

reckless disregard of Mr. Anibowei’s constitutional rights.

         128.   Defendants will continue to violate Mr. Anibowei’s constitutional rights unless

enjoined from doing so by this Court.




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                                     CLAIMS FOR RELIEF

                                          COUNT I
                                     FIRST AMENDMENT

        129.    Plaintiff re-alleges each and every allegation in paragraphs 1-128 above as if fully

set forth herein.

        130.    Defendants violate the First Amendment by searching and seizing individuals’

devices and communications containing expressive content, associational information, and privi-

leged information, absent a warrant supported by probable cause that the devices contain con-

traband or evidence of a violation of criminal, immigration, or customs laws, and without partic-

ularly describing the information to be searched.

        131.    Defendants violate the First Amendment by searching and seizing individuals’

devices and communications containing expressive content, associational information, and privi-

leged information, absent probable cause to believe that the devices contain contraband or evi-

dence of a violation of criminal, immigration, or customs laws.

        132.    Defendants violate the First Amendment by searching and seizing individuals’

devices and communications containing expressive content, associational information, and privi-

leged information, absent reasonable suspicion that the devices contain contraband or evidence

of a violation of criminal, immigration, or customs laws.

        133.    Defendants have violated and will continue to violate Mr. Anibowei’s First

Amendment rights by searching and seizing his devices and communications containing expres-

sive content, associational information, and privileged information, absent a warrant, probable

cause, or a reasonable suspicion that the devices contain contraband or evidence of a violation of

criminal, immigration, or customs laws, and without particularly describing the information to be

searched.


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                                         COUNT II
                                  FOURTH AMENDMENT
                            (Unlawful Search of Electronic Devices)

        134.    Plaintiff re-alleges each and every allegation in paragraphs 1-128 above as if fully

set forth herein.

        135.    Defendants violate the Fourth Amendment by searching travelers’ electronic de-

vices, absent a warrant supported by probable cause that the devices contain contraband or evi-

dence of a violation of criminal, immigration, or customs laws, and without particularly describ-

ing the information to be searched.

        136.    Defendants violate the Fourth Amendment by searching individuals’ devices and

communications containing expressive content, associational information, and privileged infor-

mation, absent probable cause to believe that the devices contain contraband or evidence of a

violation of criminal, immigration, or customs laws.

        137.    Defendants violate the Fourth Amendment by searching individuals’ devices and

communications containing expressive content, associational information, and privileged infor-

mation, absent reasonable suspicion that the devices contain contraband or evidence of a viola-

tion of criminal, immigration, or customs laws.

        138.    Defendants’ searches are unreasonable at their inception, and in their scope, dura-

tion, and intrusiveness.

        139.    Defendants have violated and will continue to violate the Fourth Amendment by

searching Mr. Anibowei’s electronic devices, absent a warrant, probable cause, or a reasonable

suspicion that the devices contain contraband or evidence of a violation of criminal, immigration,

or customs laws, and without particularly describing the information to be searched.

        140.    Defendants’ searches of Mr. Anibowei’s electronic devices are unreasonable at

their inception, and in their scope, duration, and intrusiveness.
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                                         COUNT III
                                  FOURTH AMENDMENT
                             (Unlawful Search of Communications)

        141.    Plaintiff re-alleges each and every allegation in paragraphs 1-128 above as if fully

set forth herein.

        142.    Defendants violate the Fourth Amendment by searching individuals’ emails, text

messages, and other private communications, absent a warrant supported by probable cause that

the devices contain contraband or evidence of a violation of criminal, immigration, or customs

laws, and without particularly describing the information to be searched.

        143.    Defendants violate the Fourth Amendment by searching individuals’ devices and

communications containing expressive content, associational information, and privileged infor-

mation, absent probable cause to believe that the devices contain contraband or evidence of a

violation of criminal, immigration, or customs laws.

        144.    Defendants violate the Fourth Amendment by searching individuals’ devices and

communications containing expressive content, associational information, and privileged infor-

mation, absent reasonable suspicion that the devices contain contraband or evidence of a viola-

tion of criminal, immigration, or customs laws.

        145.    Defendants’ searches are unreasonable at their inception, and in scope, duration,

and intrusiveness.

        146.    Defendants have violated and will continue to violate the Fourth Amendment by

searching Mr. Anibowei’s electronic devices, absent a warrant, probable cause, or a reasonable

suspicion that the devices contain contraband or evidence of a violation of criminal, immigration,

or customs laws, and without particularly describing the information to be searched.

        147.    Defendants’ searches of Mr. Anibowei’s electronic devices are unreasonable at

their inception, and in their scope, duration, and intrusiveness.
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                                          COUNT IV
                                   FOURTH AMENDMENT
                                  (Unlawful Seizure of Devices)

        148.    Plaintiff re-alleges each and every allegation in paragraphs 1-128 above as if fully

set forth herein.

        149.    Defendants violate the Fourth Amendment by seizing individuals’ electronic de-

vices for the purpose of effectuating searches of those devices after individuals leave the border,

absent a warrant, probable cause, or reasonable suspicion that the devices contain contraband

or evidence of a violation of criminal, immigration, or customs laws.

        150.    These seizures are unreasonable at their inception, and in scope, duration, and in-

trusiveness.

        151.    Defendants have violated and will continue to violate the Fourth Amendment by

seizing Mr. Anibowei’s electronic devices for the purpose of effectuating searches of those de-

vices after he leaves the border, absent a warrant, probable cause, or reasonable suspicion that

the devices contain contraband or evidence of a violation of criminal, immigration, or customs

laws.

        152.    Defendants’ seizures of Mr. Anibowei’s electronic devices are unreasonable at

their inception, and in their scope, duration, and intrusiveness.

                                           COUNT V
                                    FOURTH AMENDMENT
                                    (Unlawful Seizure of Data)

        153.    Plaintiff re-alleges each and every allegation in paragraphs 1-128 above as if fully

set forth herein.

        154.    Defendants violate the Fourth Amendment by seizing individuals’ data and retain-

ing that data, often after individuals leave the border, absent a warrant, probable cause, or rea-



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sonable suspicion that the devices contain contraband or evidence of a violation of criminal, im-

migration, or customs laws.

        155.    These seizures are unreasonable at their inception, and in their scope, duration,

and intrusiveness.

        156.    Defendants have violated and will continue to violate the Fourth Amendment by

seizing Mr. Anibowei’s data and retaining that data, after he leaves the border, absent a warrant,

probable cause, or reasonable suspicion that the devices contain contraband or evidence of a vio-

lation of criminal, immigration, or customs laws.

                                     COUNT VI
                     ADMINISTRATIVE PROCEDURE ACT, 5 U.S.C. § 706
                                  (Agency Policies)


        157.    Plaintiff re-alleges each and every allegation in paragraphs 1-128 above as if fully

set forth herein.

        158.    Each of the 2018 CBP Directive, the 2009 CBP Directive, and the 2009 ICE Di-

rective (collectively, the “Agency Policies”) is a “final agency action” subject to judicial review

under the Administrative Procedure Act, 5 U.S.C. § 704.

        159.    The Agency Policies permit agents to conduct searches that violate the First and

Fourth Amendments. The Agency Policies therefore violate the Administrative Procedure Act

because they are “contrary to constitutional right, power, privilege, or immunity.” 5 U.S.C.

§ 706(2)(B).

        160.    The Agency Policies further violate the Administrative Procedure Act because

they are “arbitrary, capricious, an abuse of discretion, or otherwise not in accordance with law.”

5 U.S.C. § 706(2)(A).




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                                    COUNT VII
                    ADMINISTRATIVE PROCEDURE ACT, 5 U.S.C. § 706
                                  (Global Entry)

        161.    Plaintiff re-alleges each and every allegation in paragraphs 1-128 above as if fully

set forth herein.

        162.    Defendants’ removal of Plaintiff from the Global Entry Trusted Traveler Program

is a “final agency action” subject to judicial review under the Administrative Procedure Act, 5

U.S.C. § 704.

        163.    Plaintiff has exhausted all of his administrative remedies and any further pursuit

of administrative relief would be futile.

        164.    Defendants’ removal of Plaintiff from the Global Entry Trusted Traveler Program

violated the Administrative Procedure Act because it was “arbitrary, capricious, an abuse of dis-

cretion, or otherwise not in accordance with law.” 5 U.S.C. § 706(2)(A).

                                     PRAYER FOR RELIEF

        WHEREFORE, Plaintiff asks for the following relief as to all counts:

        a.      Declare that Defendants’ policies and practices violate the First and Fourth

Amendments by authorizing searches of travelers’ electronic devices and communications absent

a warrant supported by probable cause that the devices contain contraband or evidence of a vio-

lation of criminal, immigration, or customs laws, and without particularly describing the infor-

mation to be searched.

        b.      Declare that Defendants violated Plaintiff’s First and Fourth Amendment rights

by searching his electronic devices absent a warrant supported by probable cause that the devices

contained contraband or evidence of a violation of criminal, immigration, or customs laws, and

without particularly describing the information to be searched.



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       c.      Enjoin Defendants to expunge all information gathered from, or copies made of,

the contents of Plaintiff’s electronic devices.

       d.      Enjoin enforcement of the Agency Policies against Plaintiff.

       e.      Enjoin enforcement of the Agency Policies.

       f.      Vacate the Agency Policies.

       g.      Award Plaintiff reasonable attorneys’ fees and costs.

       h.      Grant such other or further relief as the Court deems proper.




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Dated: March 14, 2019             Respectfully submitted,

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                               CERTIFICATE OF SERVICE

       I hereby certify that this document will be served on the Defendants in accordance with

Fed. R. Civ. P. 4.


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                        CERTIFICATE OF SERVICE


      I HEREBY CERTIFY that a true and correct copy of the foregoing

Record Excerpt was filed electronically on February 10, 2025, and will,

therefore, be served electronically upon all counsel.


                                    /s/ Andrew Tutt
                                    Andrew T. Tutt
